, Case 1:03-cv-21642-PAS Document 77 Entered on FLSD Docket 09/23/2003 Page 1 of 182

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UNITED STATES DISTRICT COURT FILED
SOUTHERN DISTRICT OF FLORIDA .
MIAMI DIVISION DEP ? 2 2003
CLARENCE oo iak

CLERK, tS
RIZALYN BAUTISTA, K, USDC / SUFL / MIA

etc., et al. CASE NO.: D3-21642-CIV-SEITZ/BANDSTRA
PAUL PERALTA, CASE NO.: 03-21643-CIV-SEITZ/BANDSTRA
RAYMOND LOVINO, CASE NO.: 03-21644-CIV-SEITZ/BANDSTRA
RONALDO MARCELINO, CASE NO.: 03-21645-CIV-SEITZ/BANDSTRA
ROLANDO TEJERO, CASE NO.: 03-21646-CIV-SEITZ/BANDSTRA
ABDI COMEDIA, CASE NO.: 03-21647-CIV-SEITZ/BANDSTRA
CRISTINA L. VALENZUELA,

etc., et al., CASE NO.: 03-21648-CIV-SEITZ/BANDSTRA
MARILEN S. BERNAL, CASE NO.: 03-21649-CIV-SEITZ/BANDSTRA
etc., et al.,

WILLY I. VILLANUEVA,

etc., et al. CASE NO.: 03-21650-CIV-SEITZ/BANDSTRA
MARIA GRACIA L. ROSA,

etc., et al., CASE NO.: 03-21651-CIV-SEITZ/BANDSTRA

Plaintiffs),

VS.

NORWEGIAN CRUISE LINE, LTD., 7)"
and STAR CRUISES, OPY

Defendant(s).

200 South Biscayne Boulevard
Miami, Florida

September 12, 2003

Friday, 12:00 p.m.

VOLUME ITI

VIDEOTAPED DEPOSITION OF KJELL HIJARTNES
(Continued)

Taken before Jan E. Reyna, Registered
Professional Reporter and Notary Public in and for the
State of Florida at Large, pursuant to Notice of Taking .
Deposition filed in the above cause.

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404 \y
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ALSO

APPEARANCES:

THE HUGGETT LAWFIRM,

By: WILLIAM HUGGETT, ESQUIRE,

66 west Flagler Street, Suite 400
Miami, Florida 33130

Appearing on behalf of the Plaintiff(s).

MASE & GASSENHEIMER, P.A.,
By: CURTIS MASE, ESQUIRE, and
DAN FARKUS, ESQUIRE,
80 Southwest 8th Street, Suite 2700
Miami, Florida 33131

Appearing on behalf of the Defendant(s).

PRESENT:

MIKE MASS, Videographer,
Video for the Legal Profession

IN DE X

KJELL HIJARTNES Page

DIRECT EXAMINATION CContinued)
BY MR. HUGGETT

EXHIBITS

Plaintiff's Composite Exhibit No. 2

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KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

12:21:38
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THEREUPON:
KJELL HIARTNES
called as a witness on behalf of the Plaintiffs
herein and, having been first duly sworn, was
examined and testified as follows:

THE VIDEOGRAPHER: Standby. Coming up onto
the video record.

And we're on the video record, sir.

MR. HUGGETT: My name is Bill Huggett, and
today is September the 12, 2003. we're here
continuing that depo of Kjell Hjartnes begun
yesterday, in the consolidated cases called
Bautista versus Norwegian Cruise Lines, and I'm
Bill Huggett for the plaintiff.

MR. MACE: I'm Curtis Mase on behalf of
Norwegian Cruise Lines and Star Cruises. with
me iS my partner, Dan Farkus, today.

MR. HUGGETT: The court reporter is Jan
Reyna.

Are we ready?

MR. MASE: I believe so.

Mr. Hjartnes, I'll remind you -- and I know
you know this -- you're still under oath. This
is a continuation of yesterday's deposition.

THE WITNESS: Yes, sir.

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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DIRECT EXAMINATION (Continued)
BY MR. HUGGETT:

Q. I think we -- yesterday we went through
these, a list on the Plaintiff's Renotice of Rule 30
(b) (6), and I'11 attach that to the deposition --

MR. MASE: That's fine.

MR. HUGGETT: -- as Exhibit 2, before I
forget.

(The document referred to was thereupon
marked "Plaintiff's Exhibit No. 2 for
Identification,’ a copy was attached thereto.)

BY MR. HUGGETT:
Q. Does NCL also own or operate a vessel

called Southward?

A. No, we do not.

Q. Did you in the past?

A. Yes, we did.

Q. was that in the '80s? ‘86?

A I can't recall the exact year.
Q. In the ‘80s?

A. I would say, yes.

Q. Okay.

THE COURT REPORTER: Can you speak up?

BY MR. HUGGETT:

Q. yesterday we discussed somewhat about the

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deck and engine crew of which certain of the deceased
claimants were in the deck and engine crew. And I
think you voiced the opinion that they were ina
union called AMOSUP; do you recall that?

A. Yes, I do.
Q. Okay. And our discussion showed that NCL
had paid certain -- AMOSUP certain dues or benefits

for them; is that correct?
MR. MASE: Object to the form.
THE WITNESS: Yes.

BY MR. HUGGETT:

Q. But that you didn't have any separate or
other evidence that they had ever joined that union
or were members of that; is that correct?

MR. MASE: Object to the form. Lack of
foundation, inadequate predicate, qualification
of the witness.

You can answer. I'm stating these as legal
objections, Mr. Hjartnes.

THE WITNESS: That's -- that’s correct.

BY MR. HUGGETT:

Q. Okay. So to Summarize, the only direct
evidence or knowledge that you know of, that
indicates that they're a member of AMOSUP is the fact

that NCL pays AMOSUP some money for their benefits or

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dues?

MR. MASE: Objection to form, lack of
qualification, predicate.

THE WITNESS: I think they're a part of
evidence, yes.

BY MR. HUGGETT:

Q. Okay. Now, the fact that NCL pays the
AMOSUP outfit money does not make those people
members, does it?

MR. MASE: Objection to the form, lack of
qualification, calls for a legal conclusion,
inadequate foundation.

THE WITNESS: In my opinion, it does.

BY MR. HUGGETT:

Q. well, if -- if I were to pay dues for you
to the National Rifle Association, that wouldn't make
you necessarily a member of the National Rifle
Association, would it?

MR. MASE: Objection to the form,
argumentative, lack of qualification, calls for
a legal conclusion, inadequate foundation.

THE WITNESS: I -~- I don't know that.

BY MR. HUGGETT:
Q. You don't know that.

Okay. well, let's take another example.

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If I were to pay dues for you to the communist party
of Cuba, and they were to accept the money, that
would not make you a member of the communist party of
Cuba, would it?

MR. MASE: Same objection.

THE WITNESS: I don't know.
BY MR. HUGGETT:

Q. You wouldn't want to be a member of the
communist party of Cuba simply because I paid dues
for you?

MR. MASE: Same objection. And I don't
actually believe he has to answer that.

THE WITNESS: I don't really want to answer
that.

BY MR. HUGGETT:

Q. So the fact that NCL pays some money to
AMOSUP, iS that your -- that is your basis for saying
that they're in the member -- they're in the union;

is that correct?
MR. MASE: Objection to form, lack of
qualification, inadequate foundation.
THE WITNESS: Can you rephrase that
question, please?
BY MR. HUGGETT:

Q. Yes. Your basis for your statement that

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1 | the deck and engine members of the deceased claimants | 12:26:51

2! were in this AMOSUP union is because NCL paid some 12:26:56
3 | money to AMOSUP for their benefits? 12:27:01
4 MR. MASE: Same objection. 12:27:05
5 THE WITNESS: No, not really. I also -- I {12:27:09
6 mean, I do have some knowledge of AMOSUP, and I 12:27:12
7 do have knowledge of Filipino seafarers. 12:27:14

8 | BY MR. HUGGETT:

9 Q. well, that was the basis you gave us 12:27:18
10 | yesterday, was it not? 12:27:20
11 A. That was in response to evidence. 12:27:22
12 Q. Okay. The only evidence or documents that | 12:27:24
13 | you know of is that -- is that NCL pays AMOSUP, 12:27:28
14 | correct? 12:27:34
15 A. Yes. 12:27:34
16 MR. MASE: Objection to form.

17 | BY MR. HUGGETT:

18 Q. But you have no evidence and no 12:27:35
19 | knowledge -- no evidence and no personal knowledge 12:27:37
20 | that they ever attended a meeting, correct? 12:27:41
21 A. Correct. 12:27:46
22 Q. No evidence and no knowledge that they ever | 12:27:47
23 | voted in a union vote? 12:27:49
24 MR. MASE: Objection, repetitive. This was /|12:27:52
25 covered yesterday. 12:27:54

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BY MR. HUGGETT:

Q. That is correct?

A. Correct.

Q. No knowledge and no evidence that they ever
visited the -- were visited by a union
representative?

MR. MASE: Objection, repetitive.
THE WITNESS: Correct.
BY MR. HUGGETT:

Q. No knowledge or evidence that they ever
knew about any advantages or disadvantages of the
union?

MR. MASE: Objection, repetitive.
THE WITNESS: Correct.
BY MR. HUGGETT:
Q. And no knowledge as to these ten -- as to

these members in this claim that they had even heard
of the union?
MR. MASE: Objection, repetitive.
THE WITNESS: Direct evidence, no.
BY MR. HUGGETT:
Q. Okay. All right.
And the same is true for the Norwegian
Seafarers’ Union except that they're required to sign

a piece of paper when the money is taken out?

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A. was that a question?
Q. Yes. That's your basis, correct?
I'll restate it, sir.
You're only -- is it your claim that any of

these ten seamen are in the Norwegian Seamen's Union
or Seafarer's Union?

MR. MASE: Objection, lack of qualification
on the part of the -- well, wait a minute. Let
me see, your the claim.

Hold on one second, Kjell.

Are you asking that as NCL's claim or his
personal claim?

MR. HUGGETT: well, let's ask both.

BY MR. HUGGETT:
Q. Is it NCL's and is it yours?

MR. MASE: Okay. You can answer.

THE WITNESS: I'm trying to figure out how
to answer that.

They're part of the CBA which has been
negotiated with Norwegian Seafarer's Union.

They have been given a copy of the CBA, they are
paying union dues. That's -- I think that's my
only claim.

THE COURT REPORTER: I think that's my

only?

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THE WITNESS: Claim.
BY MR. HUGGETT:
Q. Otherwise, you have no evidence and no
knowledge that they ever attended a meeting?
A. Do I have evidence, no.
Q. And no evidence and no knowledge that they
ever voted in the Norwegian Seafarer's Union?
MR. MASE: Objection, repetitive.

THE WITNESS: To these ten individuals, no.
BY MR. HUGGETT:
Q. No evidence or no knowledge that they ever
were visited by a union representative?

MR. MASE: Objection, repetitive. And I'm
going to note for the record that the Federal
Rules of Civil Procedure expressly limit
depositions in federal court to four hours.

we went for three hours yesterday, and if
we keep going over stuff we did yesterday, we're
leaving at four hours.

MR. HUGGETT: Go ahead.

THE WITNESS: NO evidence, no.

BY MR. HUGGETT:
Q. Okay. Yesterday we asked about a
Tripartite Group. The correct name, I believe, is

Tripartite Technical working Group; is that your

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understanding, just so we have the name right?
A. I understand it was called the Tripartite
working Group.
Q. Okay. Let me -- let me show you the
affidavit of Attorney Del Rosario from the

Philippines, Section 7 there where he discusses it.
THE WITNESS: I then need to borrow the
glasses.

THE COURT REPORTER: I'm sorry?

THE WITNESS: I need to borrow the glasses.

MR. MASE: Mr. Hjartnes didn't bring his
reading glass, so regrettably showing my age,

I'm handing him mine.

THE WITNESS: which?
MR. HUGGETT: 7.
THE WITNESS: 7, it states Tripartite

Technical working Group.

BY MR. HUGGETT:

Q. In our discussions yesterday that's --
that's when we called it Tripartite, and I may have
mispronounced it, that's what we're talking about?

A. Yes.

Q. Okay. I'11 take it back, unless you want
to read it more.

And do you have any knowledge or any

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—
evidence that any of these ten seamen in this case
were a member of any religious group that may have
participated in the decisions of the Tripartite
Technical working Group?

A. No, I don't.

Q. Do you have any knowledge or any evidence
that the ten seamen in this case were members of any
civic groups that participated in the decisions of
the Tripartite Technical working Group?

A. No, I don't.

MR. HUGGETT: Do have that affidavit or
that Exhibit 1 from yesterday?
THE COURT REPORTER: Yeah, in that package

I gave you, in the back.

MR. MASE: You mean attached as an exhibit
per our request yesterday, right?
THE COURT REPORTER: Yes. Imagine that.

MR. MASE: Imagine that.

BY MR. HUGGETT:
Q. r'11 tell you what, I'11 give you a blowup.
Maybe it will make it easier. Can you read that one?
A. No.
Q. Okay. well, then you can have this one

from yesterday.

MR. HUGGETT: Be sure you get it back.

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THE WITNESS: Okay. I'd rather read this.

MR. HUGGETT: All right.
BY MR. HUGGETT:

Q. Department Order No. 4, which is attached
to that, is that part of the documents that the
seamen are given a predeparture orientation on?

A. Yes, it is.

THE COURT REPORTER: I'm sorry?

THE WITNESS: Yes, it 1S.

BY MR. HUGGETT:

Q. And are they supposed to understand that?

MR. MASE: Objection to the form of the
question, lack of qualification on the part of
the witness, calls for a legal conclusion,
inadequate foundation.

THE WITNESS: I would presume so, yes.

BY MR. HUGGETT:

Q. Do you understand it?

MR. MASE: Objection to the form of the
question, lack of qualification on the part of
the witness.

THE WITNESS: I -- I believe I do.

BY MR. HUGGETT:
Q. All right, sir.

THE COURT REPORTER: I'm sorry?

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THE WITNESS: I believe I do.
THE COURT REPORTER: Can you speak up.
BY MR. HUGGETT:

Q. The second paragraph refers to an amended
contract. Can you tell me where that amended
contract 1s?

MR. MASE: It's the second --
THE WITNESS: I'm presuming they're
referring to Annex A, the Standard Terms and

Conditions Governing The Employment of Filipino

Seafarers On Board Ocean-Going vessels.

MR. MASE: If you're not sure, you need to
tell him that.

THE WITNESS: Yeah, I'm not sure what
they're referring to, but I -- yeah, I'm not
sure what they're referring.

BY MR. HUGGETT:

Q. Okay. And the next line has amended rules,
can you tell me what amended rules they're referring
to?

A. No, I can't.

Q. And do you know if the seamen who are
Supposed to read this and understand it know what
amended rules they're referring to?

A. No, I don't.

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MR. MASE: Objection, no foundation, no

predicate.
BY MR. HUGGETT:

Q. Okay. The --- looking at the next one,
Memorandum Circular No. 9, is that part of the
documents that the seamen are supposed to read and
understand?

A. Yes, it is.

Q. Okay. Now -- and I think you told us that
part of the NCL'’s job is insure that the manning
agencies do their job of orienting the people and
discussing these various documents with them?

A. Can you repeat that, please?

Q. Yes. Is it part of NCL'sS duties to insure
that their manning agencies require the seamen to
read and understand these documents before they come
to work with Norwegian Cruise Lines?

MR. MASE: Objection; lack of foundation,
lack of qualification.

THE WITNESS: It's -- it's more, in my
opinion more a responsibility of the POEA to
make sure they follow the -- the guidelines
setup by the POEA, and as it is part of their
accreditation with POEA.

BY MR. HUGGETT:

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1 Q. The manning agencies or NCL? 12:
2 A. The manning agencies. 12:
3 Q. Manning agencies are employed by NCL to 12:
4] enforce those rules, or to see that the -- see that 12:
5 | the rules are complied with as to the seamen that are /12:
6 | going to work on your ships? 12:
7 A. Yes. 12
8 Q. Okay. And I draw your attention to No. 5, 12:
9] it says, “The manning agencies are directed to 12:
10 | include the discussion of the amended Standard Terms |12:
11 | and Conditions." Do you see that one? 12:
12 A. Yes, I do. 12
13 Q. And do you know when the Standard Terms and |12:
14 | Conditions were amended? 12
15 A. No, I don't. 12:
16 Q. Can you show me a copy of the amended 12:
17 | Standard Terms and Conditions? 12:
18 A. To my knowledge, this is the amended 12:
19 | contract. 12:
20 Q. Referring to that one attached there to 12:
21 | that packet? 12:
22 A. Yes. 12
23 Q. It doesn't say amended, does it, it just 12:
24] says “Standard Terms, Annex A"? 12
25 A. Yes, it does. 12:

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Q. Is there any way that you can distinguish
for us what paragraph five means as a distinction
between amended standard terms and the original
Standard terms?
A. No, there is not.
Q. And do you have any knowledge or way of

knowing whether the manning agencies acting on behalf
of NCL included a discussion of the amended or the
regular or original standard terms?

A. Can you restate that?

Q. Do you have any knowledge or documentation
to show whether the manning agencies which discussed
the contracts with the seafarers employed by NCL
actually discussed the amended standard terms or the
original standard terms?

A. Again, if they are referring to this, this
has been given to the crew members and is part of the
predeparture orientation. They'd have to discuss
this with them.

Q. Now this, you are pointing to the -- what's
called Standard Terms and Conditions that are
attached to the packet there?

A. yes, sir.

Q. And -- and we -- so the only thing you can

say is that those that are attached are supposed to

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be the ones discussed?

A. Yes.

Q. And we don't know -- and you don't know
whether those are the amended or the original, do
you?

A. I know that these are the ones that are in
effect now.

Q. Okay. And how do you know that?

A. I have been given a copy of this. I was
sent a copy of this from the manning agent.

Q. All right. Now, let me go back to my
question, which is: Do you know whether the manning
agencies discuss the amended one or the original one
with the seamen?

A. I can't answer that, because I wasn't
there.

Q. Okay. The No. 2 says that effective June
25, 2000, that manning agencies would use a certain
text of seafarers contracts. Do you see that?

A. I'm sorry. what are you referring to now?

Q. Memorandum Circular 9.

A. Yes.

Q. And paragraph two.

A. Okay.

Q. It says, "Effective June 25, 2000, manning

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agencies shall use a certain text of the seafarer's
employment contract." See that paragraph?

A. Yes.

Q. You discussed, I believe, yesterday, that
you began a position and dealt with this at the end
of '99, the beginning of 2000.

My question is: Do you recall what was
used prior to June 25, 2000?

A. No, I do not.

Q. Now, I'd like to turn to those standard
terms that you have a copy of there in that packet.

Is it your understanding from looking at
them that those are the ones that are in effect in
for these ten seamen in question?

A. Yes, it is.

Q. Okay. And is it part of the duty of the
manning agency acting for NCL to insure that they
read and understand this?

MR. MASE: Objection to the form of the
question.
MR. HUGGETT: Is the answer “yes"?
THE WITNESS: Yes.
BY MR. HUGGETT:
Q. Let's look at a couple of paragraphs here.
p tet me refer you to page five. On the left-hand

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column, it's listing certain problems and so forth
that the seamen may get something for. Do you see

18, 19 and 20?

A. Yes.

Q. Could you read us those three, please?
A. 18?

Q. Yes.

A. “Pulmonary Tuberculosis: In addition to

working" -- I think I need stronger glasses -- "to
working conditions already listed under the
Philippine Decree No. 626, as amended, any occupation
involving constant exposure to harmful substance --
substances in the working environment, in the form of
gases, fumes, vapors, and dust, as in chemicals” --

THE COURT REPORTER: I'm sorry?

THE WITNESS: -- “as in chemicals and
textile factories, overwork or fatigue, and
exposure to rapid”

I can't see it.

BY MR. HUGGETT:

Q. It's variations?

A. -- "variations in temperature, high degree
of humidity, and bad weather conditions.”

Q. If you could just read the next two,

please.

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A. Okay. "Viral hepatitis: In addition to
working conditions already listed under Philippine
Decree No. 626, as amended, any occupation involving
exposure to a source of infection through ingestion
of water, milk or other foods contaminated with
hepatitis virus, provided that the physician
determining the casual relationship between the
employment and the illness should be able to” --

Can you see what it says?

Q. Indicate.

A. -- "to indicate whether the disease of the
affected worker manifested itself while he was so
employed, knowing the incubation period thereof.”

Q. And 20.

A. "Essential hypertension: Hypertension
classified as primary or essential is considered
compensatable if it causes impairment of function of
body, of body organs like kidney, heart, eyes and
brain, resulting in permanent disability, provided
that the following documents” --

what's it say?
Q. Substantiate it.
A. -- "substantiate it. A, chest x-ray

report; B, EGG report; C, blood chemistry report,

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what does it say? I can't read it.
Q. It says F-U-N-D-U-S-C-O-P-Y.
A. Okay.
-- "funduscopy report, and CT scan."
Q. Are the requirements that the manning

agency familiarize the seamen with things like that?
A. Familiarize them with them, yes.
Q. Okay. And do you, as the person here at
NCL, understand those, too?
MR. MASE: Objection to form.
THE WITNESS: In broad terms, yes.
BY MR. HUGGETT:
Q. Okay. Can you -- and can you tell us what
is essential hypertension?
A. I know what hypertension is, yes.
Q. And do you know what's the difference is in
hypertension and essential hypertension?
A. No, I don't.
Q. Do you know how or a why you would

substantiate hypertension with a chest x-ray?

A. No, I don't.
Q. Then do you think the seamen do?
A. I can't answer that.

MR. MASE: Objection to the form.

BY MR. HUGGETT:

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1 Q. Okay.
2 MR. MASE: Careful -- 12:51:01
3 THE WITNESS: Thank you. 12:51:04
4 | BY MR. HUGGETT:
5 Q. I direct your attention to page three. Is /12:51:21

6 | Section 29 the section that concerns the arbitration? |12:51:53

7 MR. MASE: Objection to the form; calls for [12:51:59
8 a legal conclusion, lack of qualification. 12:52:03
9 THE WITNESS: In my opinion, yes. 12:52:11

10 | BY MR. HUGGETT:

11 Q. Okay. Could -- and Section 31, how does 12:52:13
12 | that apply? 12:52:21
13 MR. MASE: Same objection. 12:52:23
14 THE WITNESS: I'm sorry. Can you repeat 12:52:42
15 the question? 12:52:44

16 | BY MR. HUGGETT:

17 Q. Yeah. Section 31, Applicable Law, how does | 12:52:45
18 | that apply to this matter? 12:52:48
19 A. It applies as it's stated, that any claim 12:52:51
20) has to -- has to be governed by the law of the 12:52:54
21 | Republic of the Philippines. 12:53:01
22 Q. Okay. Could you -- could you read into the | 12:53:03
23 | record Section 29 and Section 31? 12:53:04
24 A. Now I wish I had my own glasses. 12:53:13
25 MR. MASE: Yeah, I hear you. 12:53:16

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THE WITNESS: "Section 29. Dispute
Settlement Procedures. In cases of claims and
disputes arising from the employment, the
parties covered by the Collective Bargaining
Agreement shall submit the claim or dispute to
the original and exclusive jurisdiction of the
voluntary arbitration, arbitrator or panel of
arbitrators.

"If the parties are not covered by a
collective bargaining agreement, the parties
may, at their option, submit the claim or
dispute to either the original and exclusive
jurisdiction of the National Labor Relations
Commission CNLRC), pursuant to Republic Act (RA)
9042, otherwise known as the Migrant workers and
Overseas Filipino Act of 1995 or to the original
and exclusive jurisdiction of the voluntary
arbitrator or panel of arbitrators, if there is
no provision as to the voluntary arbitrators to
be appointed by the parties, the same shall be
appointed from the accredited voluntary
arbitrators of the National Conciliation and
Mediation Board of the Department of Labor and
Employment.

"The Philippines Overseas Employment

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Administration (POEA), shall exercise original
and exclusive jurisdiction to hear and decide
discrepancy -- disciplinary action on cases,
which are administrative in character, involving
or arising out of violations of recruitment
laws, rules and regulations involving employers,
principals, contracting partners and Filipino
seafarers."

BY MR. HUGGETT:

Q. And Section 31?

A. "Section 31. Applicable law. Any
unresolved dispute, claim or grievance arising out of
or in connection with this contract, including the
annexes thereof, shall be governed by the laws of the
Republic of the Philippines, international
conventions, treaties, and conventions whereto the
Philippines is a Signatory.”

Q. Is it -- does NCL undertake to insure that
its manning agencies make the seamen aware of these
provisions?

A. That's --~ yes and no, because once the
manning agents are accredited with POEA, it is POEA'S
responsibility to make sure that the manning agents
follow the provisions set out by the POEA.

Q. Does NCL make any attempt to see that their

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manning agencies make sure that the seamen understand

that and read it?

A. Yeah, I think do.
Q. Okay.
A. I think we make sure that the manning

agents follow the applicable laws.

Q. And aside from the applicable laws, do you
attempt to make sure that they -- that the manning
agencies make sure that the seamen reads and
understand those paragraphs?

A. That's part of the requirement of the
manning agent.

Q. And when the manning agents are acting on
NCL's behalf in orienting the seamen, does NCL make
any attempt to insure that the manning agencies make
the seamen read and understand those provisions?

MR. MASE: Object, and asked and answered.
THE WITNESS: I think we make sure they
follow the requirements.
BY MR. HUGGETT:

Q. Let me try to be a little more specific, if
I can. My question is: Does NCL make any attempt to
insure that the manning agencies make the seamen read
and understand Section 29 and Section 31?

MR. MASE: Object to the form.

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—-
THE WITNESS: Do they physically oversee
it, no.
BY MR. HUGGETT:
Q. By any means, does NCL attempt to make sure

that the manning agencies that it hires insure that

the seaman reads and understands Section 29 and 31?

A. we make sure that we use accredited manning
agents.
Q. I understand that. And you've told me

that. Let me see if I can narrow my question a

little bit.
A. Okay.
Q. And I'm going to restrict it to Section 29

and 31 that you've just read.

A. Okay.

Q. Does NCL make any attempt to insure that
the manning agencies that it employs, insure that the
seamen read and understand those two sections?

MR. MASE: Objection, repetitive, asked and
answered.
THE WITNESS: We make sure they are in
compliance with the requirements.
BY MR. HUGGETT:
Q. And does that apply to Section 29 and 31?

A. Yes.

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Q. Okay. So do I understand it then, it would
be NCL'sS intent that the manning agencies explain
those two sections to the seamen?

MR. MASE: Objection to the form, lack of
foundation.

THE WITNESS: Yes.

BY MR. HUGGETT:

Q. And in Section 29, the second sentence --
the second line refers to a dispute; can you tell me
what is a dispute that would be subject to this?

A. Any disagreement on contractual issues.

Q. On contractual issues. Would that apply to
negligent torts?

MR. MASE: Objection, lack of
qualification, form.

THE WITNESS: In my opinion, it would be --
it would apply to any disagreement arising from
the contract.

BY MR. HUGGETT:

Q. I think you told me that. My question is
now: This contract that NCL -- NCL is using this
particular contract; is it not?

A. Yes.

Q. And it's requiring the seamen to have it

attached to their page front contract?

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A. Yes. 13:
Q. It's at least the intent of NCL that this 13:
contract be followed in dealing with these ten 13;
seamen? 13:
MR. MASE: Objection to form, lack of 13:
qualification. 13:
THE WITNESS: Yes, with every Filipino 13:
seafarer. 13:

BY MR. HUGGETT:
Q. My question is, as the person representing 13
NCL here, does dispute include a Jones Act? Does a 13:
dispute include a claim for injuries or death due to /13:
negligence? 13:
MR. MASE: Same objection. 13
THE WITNESS: I think it includes any 13
dispute. 13:

BY MR. HUGGETT:
Q. And does that include one for negligence 13:
19 | and -- 13
20 A. I'm not a lawyer and I can't -- can't 13:
21 | answer that. 13:
22 Q. So you don't know? 13:
23 A. I don't know. 13:
24 Q. All right, sir. And do you think the 13:
25 | seamen know? 13:

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MR. MASE: Objection, lack of
qualification, no foundation.
THE WITNESS: I can't answer for the
seafarers.
BY MR. HUGGETT:
Q. Okay. Do you know whether that's explained

to the seafarers, the difference between a dispute
arising from the contract and one from negligent --
negligence which results in injury or death?

A. I don't know.

Q. And do you know -- is there a difference
between a claim and a dispute?

MR. MASE: Same objection, lack of
qualification on the part of the witness.

THE WITNESS: No. I think it means the
same thing. It's a disagreement on contractual
issues.

BY MR. HUGGETT:
Q. Difference of opinion on contractual
issues. All right, sir.

And does, in your -- in your opinion, could

contractual issues include negligence claims?
A. I don't know.
MR. MASE: Objection.

BY MR. HUGGETT:

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Q. Okay. Is it supposed to include claims or
disputes when the seamen is injured or killed due to
negligence?

MR. MASE: Objection to the form of the
question, lack of qualification and predicate.
THE WITNESS: I'm not qualified to answer
that.
BY MR. HUGGETT:

Q. Okay. Do you think the seamen are
qualified to answer that?

A. I can't answer.

MR. MASE: Same objection.

BY MR. HUGGETT:

Q. Do you think the seamen know?
A. I can't answer for that -- for them.
Q. Do you know whether the manning agencies

who explain this to the seamen make any attempt to
make that distinction for the seamen?
A. I don't know.

Q. Okay.

MR. MASE: Let me know if you want a break,

you need to stretch your knee
THE WITNESS: I'm afraid I'm going to fall
off the chair.

BY MR. HUGGETT:

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Q. Yesterday we talked about, and I
mispronounced a man named Happy "Ballonga"?
A. Ballaga.
Q. Ballaga. Okay. I'11] try to get it right.
MR. MASE: You did it again today.
MR. HUGGETT: Did it again.
BY MR. HUGGETT:
Q. And you know Happy Ballaga, right?
A. Yes, I do.
Q. And have you had a chance yet to read the

affidavit which Happy Ballaga filed in this case on
behalf of Norwegian Cruise Lines?

A. No, I have not.

Q. Okay. He's the -- to your knowledge, he's
a manager of CF Sharp, one of the manning agencies?

A. Yes.

Q. Okay. I'm looking at paragraph 10 of that
affidavit, if your lawyer wants to look. Paragraph
10 of that affidavit says, it's describing the
signing and explaining process. would Happy Ballaga
be a person to know about that process?

MR. MASE: Objection to the form, lack of
qualification on the part of the witness to
answer that, no foundation.

THE WITNESS: In my opinion, yes.

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BY MR. HUGGETT:
Q. Okay. He says that before this -- I'm
sorry. “Seafarers are actually deployed to the

vessel NORWAY. They were made to execute employment
contracts which incorporate and made integral part
thereof the Standard Terms.”
I have highlighted that little paragraph

10. You see it there?

A. Yes.

Q. Do you know what means they use to make
them execute the contracts?

A. I -- I can't speak for Mr. Ballaga.

Q. And do you give them any direction or

guidance on how they use to make them execute the

contract?
A. No, we don't.
Q. You would agree with me that made to

execute a contract gives no option or leeway for
dialogue to the seamen?

MR. MASE: Objection to the form of the

question.
THE WITNESS: I -- like I said, I can't
read his mind or what he -- or how he was

thinking when he expressed himself that way.

BY MR. HUGGETT:

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Q. Okay. well, what -- are your instructions
to the manning agencies, or your overseeing or
guidance, that they're to make them execute
contracts?

A. Our instructions to them is make sure that
we are following all applicable laws, and that we
follow the instructions and requirement from POEA.

Q. And does that -- do you tell them anything
about making them execute employment contracts?

A. No. I think we make them make sure they
have a contract before they join the ship.

Q. Okay. In this description of what he does,
I notice that he doesn't put anywhere the word
“arbitrate.”

Does NCL ask that they explain to them what
arbitration mean?
MR. MASE: Objection, lack of qualification
and foundation.
THE WITNESS: That 1S a requirement by
POEA.
BY MR. HUGGETT:

Q. Okay. And does NCL -- have you, or anyone
that you know of, ever said to your manning agencies
that you employ and pay that they are to discuss

arbitration with the men?

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MR. MASE: Objection, lack of foundation.
THE WITNESS: They are required to follow
the POEA rules.
BY MR. HUGGETT:

Q. Okay. Now, my question is: Do you know
yourself or have any evidence that NCL tells its
manning agencies or asks, reviews, that they
specifically discuss arbitration?

A. Do we go paragraph by paragraph, no, we do
not. we tell them to follow all the requirements by
POEA.

Q. So you have no evidence and no knowledge
that the manning agencies ever mention the word
"arbitration"?

A. No, I don't.

Q. Okay. Now, No. 11 of this affidavit says
that as a standard operating procedure of the
company, the contents of the standard employment
contract with its terms and conditions are explained
by the crewing manager of the seafarers in the

Filipino language.

Have you -- are you aware that they do
that?
A. I think I testified to that yesterday.
Q. Okay. why would they explain it in the

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Filipino language and have it written in the English
language?

MR. MASE: Objection, lack of
qualification, no foundation, inadequate
predicate.

THE WITNESS: I can't answer that.

MR. MASE: Argumentative.

BY MR. HUGGETT:

Q. Do you think the seaman understands better
in the Filipino language?

MR. MASE: Same objection.

THE WITNESS: I don't know.

BY MR. HUGGETT:

Q. Okay. would that be the purpose that you
would be using a native language of someone, so that
he better understands?

MR. MASE: Same objection.

THE WITNESS: TI would think it would be
easier to explain it to them in their own
language.

BY MR. HUGGETT:

Q. And would it also be easier for him to
understand if it's written in the Filipino language?

MR. MASE: Objection, same objection.

want to go off for a second?

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THE VIDEOGRAPHER: And we're off the

record.

(Thereupon, a brief discussion was held off

the record.)

THE VIDEOGRAPHER: We're back on the
record, sir.
BY MR. HUGGETT:

Q. Okay. The last question was, would it be
easier for the seaman to understand if the contract
were written in Filipino, his native language?

MR. MASE: Note my same line of objections
that I've been making beforehand.
THE WITNESS: I don't know.
BY MR. HUGGETT:

Q. Okay. Now, that No. 11 of that affidavit,
Mr. Ballaga --

MR. MASE: Just call him Happy.
BY MR. HUGGETT:

Q. Happy, states, continuing, is the standard
operating procedure of the company, the contents of
the standard employment contract with its terms and
conditions are explained by the crewing manager to
the seafarers in the Filipino language, and the
seafarers are required to read and understand the

provisions.

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I'1] show you No. 11.
A. Okay.
Q. Do you know how they require them to
understand?
A. No, I don't.
Q. Do you give them any guidance when you ask

them to comply with the rules and the regulations as
to how to require someone to understand?

MR. MASE: Note my same objection,
objections.

THE WITNESS: The requirement we have on
them is that they follow the requirements from
POEA, which includes explaining the terms and
conditions of the contract.

BY MR. HUGGETT:
Q. you don't really think that the seamen
understand all of that standard terms, do you?

MR. MASE: Objection, lack of
qualification, lack of predicate, lack of
foundation.

THE WITNESS: TI don't know.

BY MR. HUGGETT:

Q. well, we've gone over there some parts that

you don't even understand, so you wouldn't expect a

seaman to, would you?

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A. They may be smarter than me, I don't know.

Q. You don't really think they all understand
it all?

MR. MASE: Objection, asked and answered.

THE WITNESS: I don't know.

BY MR. HUGGETT:

Q. Okay. Section 13, the next one, says that
Happy knows for a fact that they have read,
understood and agreed to the terms.

Do you have any means of insuring or
telling us how he knows for a fact that they
understand?

A. No, I don't.

MR. MASE: Same objection.

BY MR. HUGGETT:

Q. And do you know how he knows for a fact
that they agree?

MR. MASE: Same objection.

THE WITNESS: No, I don't.

BY MR. HUGGETT:
Q. It is NCL'S position that they sign the

contract as written or they don't get a job, correct?
MR. MASE: Asked and answered.
THE WITNESS: I'm sorry. Repeat that.

BY MR. HUGGETT:

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Q. It's NCL's position, when hiring these
seamen, that they sign this packet that you have a
copy of in your hand, as is, correct?

A. Yeah, we don't have the prerogative of
changing it.

Q. you don't allow any variations?

A. No, we don't.

Q. So he takes it or he leaves it as it is?

A. That's correct. And that's not only our

requirement, that's Filipino law. It's required by
law that they sign the contract with the terms and
conditions as they are.

Q. Okay. And is part of NCL's job to insure
that your manning agencies and your seamen are in
compliance with that law?

A. That's correct.

Q. Okay. Now, this provision that you have
right in front of you, Section 29, refers toa
Republic Act 8042. Do you know where I mean?

A. Yes.

Q. Is that act given to the seafarers as part

of their contract?

A. I don't know.
Q. Do you know what that act says?
A. No, I don't.

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Q. we've just read one or two provisions. Do
you know how long it takes the average seaman to read
and understand this contract?

A. No, I don't.

Q. You think it would take a long time, having
just read a few portions yourself?

A. I think that's reasonable to say.

Q. well, on page four of that contract in
front of you it lists some terms and there's a column
that says Gr. 1, Gr. 7, Gr. 10. Do you see where I
mean?

A. Yes.

Q. what does that mean? what does that stand
for; do you know?

A. It refers to the schedule of disability
allowance.

THE COURT REPORTER: Refers to the schedule
of?
THE WITNESS: Disability allowance.
BY MR. HUGGETT:
Q. And what does GR mean?
A. Impediment grade.
THE COURT REPORTER: I'm sorry?
THE WITNESS: Impediment grade. or
impediment grade, I suppose.

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BY MR. HUGGETT:

Q. And do you know what the seamen jis told
that that means?

A. No, I don't.

Q. Looking in the right-hand column of that
page, there's a column that says “impediment grade,"
and under it has 1 through 14. You see where I'm
talking about?

A. yes.

Q. And then it says, the next column is
US 50,000?

A. Yes.

Q. Is US 50,000, times 120 percent the maximum
that a seaman can recover under this contract?

MR. MASE: Objection, lack of qualification
and foundation.
THE WITNESS: With respect to disability,
it appears to be that.
BY MR. HUGGETT:
Q. And how much do you get for a burn?
MR. MASE: Objection, lack of
qualification, foundation.
THE WITNESS: I don't know.
BY MR. HUGGETT:

Q. Does it even mention burns in this entire

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contract?

A. I don't know.

Q. Does this contract and this schedule of
disability also cover death?

MR. MASE: Same objection.

THE WITNESS: I believe that's covered in a

separate section.
BY MR. HUGGETT:
Q. which section is that or page?
A. Section 20.
Q. 20, okay.

Is it your understanding that the maximum
that can be received for a death, if it's work
related, is $50,000 us?

A. Under Section 20, yes.

Q. Are there any other sections that he
receives additional money for or his family?

A. Our CBA exceeds these compensation regs.

Q. Are they also entitled to bring a claim
under your CBA, meaning Collective Bargaining
Agreement?

MR. MASE: Objection, calls for a legal

conclusion, lack of qualification.

THE WITNESS: I can't answer that.

BY MR. HUGGETT:

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Q. Is it your understanding that seamen are
limited to claims or disputes to bringing it,
pursuant to this contract, with the POEA?

A. Yes.

MR. MASE: Same objection.

BY MR. HUGGETT:

Q. And so is there any other means for them to

obtain any other benefits besides what's listed here?
MR. MASE: Same objection.
THE WITNESS: There are other benefits
available to them in the Philippines.

BY MR. HUGGETT:

Q. Okay. Can you tell me what those are?
A. No, I cannot.
Q. Is it another means of compensation?

Another form, like a lawsuit, or a claim under the
CBA which you mentioned?
A. I don't know.
Q. Do they have a right to a claim under the
CBA that's different from this one under the POEA?
MR. MASE: Same objection.
THE WITNESS: The compensation limits in
the CBA are higher than what they are in the
Standard Terms and Conditions.

BY MR. HUGGETT:

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Q. Okay. And would the seamen have to bring a
separate or a different claim to get those higher
limits under the CBA?

A. No.

Q. So he goes under this same contract?

A. Yes.

Q. So evidently there are other things or

documents which modify this basic contract in terms
of the rights of the seamen?

A. It exceeds the minimum required terms and
conditions.

Q. And my question is: To find that, you
would have to refer to another document besides these
packets which the seamen is given?

A. Yes.

Q. And that would be your collective
Bargaining Agreement?

A. Yes.

Q. Okay. Are there any other things or ways
that the seamen can recover besides making a claim

under this POEA or the CBA?

A. Yes, there are.

Q. what are they?

A. I don't know.

Q. Okay. Does one of those include a regular

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lawsuit?
A. Not under this contract.
Q. Not under this contract. Okay. Good
point.
Is this contract limited to contract
work-related claims?

MR. MASE: Objection, lack of qualification
and foundation.
THE WITNESS: I'm sorry. Can you rephrase
that question?
BY MR. HUGGETT:

Q. Yes. The claims that can be brought under
this POEA contract, are they contractual claims for
work-related disputes?

MR. MASE: Same objection.
THE WITNESS: I don't think I understand
your question.
BY MR. HUGGETT:
Q. Can you bring a tort claim under this, a
claim for negligence under this POEA contract?
MR. MASE: Same objection.
THE WITNESS: TI don't know.
BY MR. HUGGETT:
Q. Are the seamen ever told the difference in

bringing a negligence-related claim and a contract

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work-related claim?
A. I don't know.
Q. Do the seamen have a right to maintenance
and cure on Norwegian Cruise Line ships?

MR. MASE: Objection, lack of qualification
on the part of the witness to answer, calls for
a legal conclusion, speculative, inadequate
predicate, inadequate foundation.
MR. HUGGETT: That's it.
THE WITNESS: Do you want me to answer?
MR. MASE: Sure.
THE WITNESS: Yes, under the CBA.
BY MR. HUGGETT:
Q. Okay. Are they all -- and does the CBA
provide for maintenance and cure?
A. Yes, it does.
Q. And does the POEA contract provide for

maintenance and cure?

A. Yes, it does.

Q. And what is the source of your knowledge of
that?

A. Knowledge of what?

Q. That they have a right to bring a claim for

maintenance and cure under this POEA contract as well

as the CBA contract?

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MR. MASE: Same objection.
THE WITNESS: I'm familiar with both.
BY MR. HUGGETT:
Q. Okay. And do you know whether they have a

right to bring a claim under US law for your vessels
doing business in Miami, Florida?

MR. MASE: Same objection.

THE WITNESS: No, I don't.

BY MR. HUGGETT:

Q. Okay. Do you know this fellow Nicholas C.
Torres?

A. Yes, I do.

Q. And who is he?

A. I believe he's the attorney for CF Sharp.

Q. His affidavit says he's legal and claims
manager for CF Sharp. Would you understand he's also
that?

A. If that's what he claims to be, yes.

Q. Now, in Section 10 of his affidavit he says

that if there is any dispute arising out of the
employment pursuant to Section 29, the parties may,
at their option, submit the claim to other kinds of
arbitration.

Let me hand you that so you can see it.

A. Okay.

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Q. DO you agree with that?
A. I'm not a lawyer, so I can't really say yes
or no.
Q. Okay. when he says, “They may at their

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option submit the claim,” does that indicate to you
that there's an option, that there's discretion?
MR. MASE: Objection to form, calls for a
legal conclusion, lack of qualification.
THE WITNESS: I believe that's what he's
Stating. I can't --
BY MR. HUGGETT:

Q. Okay. Now, let's then look at 29, which is
the contract that you're familiar with, the Standard
Terms and Conditions. Do you have 29 there, page
three.

A. Is that it?

Q. would you agree that the first sentence
States that if there is a collective bargaining
agreement, the parties shall submit their claim or
dispute to a voluntary arbitrator?

MR. MASE: Same objections.
THE WITNESS: Yes.
BY MR. HUGGETT:
Q. Okay. Does it disting -- does it say who

the voluntary arbitrator must be?

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A. No, it does not.

Q. would you agree that there is a collective
bargaining agreement in place here?

A. Yes.

Q. Okay. And would you agree that, therefore,
pursuant to the first sentence of that, they, the
parties, may submit to a voluntary arbitrator?

MR. MASE: Same objection.

THE WITNESS: I'm not a lawyer, so I can't
speculate on that.
BY MR. HUGGETT:

Q. You have participated in formulating the
Collective Bargaining Agreement, have you not?

A. Yes, I have.

Q. And it's your understanding that that
Collective Bargaining Agreement sets up a means for
designating arbitrators, does it not?

A. yes, it does.

Q. And therefore, if it sets up a means for
designating arbitrators, pursuant to the first
paragraph, that a seaman could then follow that and
have a voluntary arbitrator set up pursuant to the
means specified in the CBA?

A. That's how I understand it, yes.

Q. Okay. You interpret it that that must

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therefore be the POEA arbitrator?

A. Again, I'm not lawyer. I can't interpret
it.

Q. The second sentence says if the parties are
not covered by a collective bargaining agreement,
then they shall submit the claim to the exclusive
jurisdiction of the NLRC, National Labor Relation
Commission, pursuant to such and such an act.

you see what I mean, where I'm speaking?

MR. MASE: The question is: Does he see
where you're speaking?

MR. HUGGETT: Yeah, does he see where I'm
reading.

THE WITNESS: Yes, I do.

BY MR. HUGGETT:

Q. So, in this case, is it your understanding
that there is a collective bargaining agreement in
place, and that they shall submit to a voluntary
arbitrator or panel, and that the second sentence
does not apply?

MR. MASE: Objection to the form of the
question, lack of qualification on the part of
the witness, lack of foundation.

THE WITNESS: I can't draw legal
conclusions.

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THE COURT REPORTER: I can't?
THE WITNESS: Draw legal conclusions.
BY MR. HUGGETT:

Q Your answer is you don't know?

A. I don't know.

Q Okay. And do think that the seaman knows?

A I can't speak for the seaman.

Q. Okay. If you don't know, you can certainly
assume that a seaman doesn't know, correct?

A. I can't assume.

Q. Okay. But the plain language of the word,
whether you are a seaman or a lawyer, says that if
they're not covered by a collective bargaining
agreement then they shall follow certain steps.

You see that, correct?
MR. MASE: The same objection.
THE WITNESS: Yes, sir. I'm reading it the
same aS you are.
BY MR. HUGGETT:
Q. And in this case you're telling us that

they are covered by a collective bargaining

agreement?
A. Yes, they are.
Q. So if the seaman is reading the plain

language of that, he would not need to submit his

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claim to the National Labor or Labor Commission,
would he?

MR. MASE: Objection, same objection.
THE WITNESS: I can't draw legal
conclusions.
BY MR. HUGGETT:

Q. Is the answer you don't know?

A. I don't know.

Q. And did you -- and therefore, you don't
think the seamen would know either, correct?

A. No, that's not my testimony.

Q. You don't know if the seaman knows?

A. I don't know.

Q. And you make no attempt or you have no
knowledge of whether the -- your agents, the manning
agency, explains that difference to the seamen, do
you?

A. I -- no, I don't.

Q. And does the -- we discussed then briefly

that the CBA has a provision for the appointment of
arbitrators; is that correct? Could you tell me what
provision that is?

A. I would have to read it.

Q. Okay. I'11 help you find it.

I'm looking at Annex 3 to the one that your

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counsel have attached to the pleadings, and I'1] hand
jt to you.

It says, under Section 7: Grievance
committee shall resolve any dispute, and the same
shall be referred to a voluntary arbitration
committee. And then it goes on about impartial
arbitrators.

would that be the section you are
referring to? And I'll hand you my copy. It may be
a little smaller. Your lawyer might have a bigger
one, but that's the one they gave us.

A. Yes.

Q. Okay. So would you agree then that in
Section 29 of the Dispute Settlement Procedures, that
where the sentence says "if there is no provision as
to voluntary arbitrators" would not apply because you
do have a provision for the selection of voluntary
arbitrators?

MR. MASE: Same objection.

THE WITNESS: I can't, just by looking at

that, draw that conclusion, so...

BY MR. HUGGETT:

Q. You don't know?
A. I don't know.
Q. And you don't know whether the seamen

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knows?

A. No.

Q. Okay. And you don't know whether the
manning agencies make any attempt to explain that
difference?

A. I can't speak for them.

Q. The answer is you don't know?

A. I don't know.

Q. Okay. But certainly you would agree that

the CBA, the Collective Bargaining Agreement that you
are familiar with, and that you have had a hand in
formulating, does provide for the appointment of
arbitrators, a method and a means?
A. Yes, it does.
Q. Okay. Thank you.
MR. MASE: want a break?
THE WITNESS: NO.
BY MR. HUGGETT:
Q. Have you ever been through that
provision -- or that process of appointment of
voluntary arbitrators in your work with the company
pursuant to the CBA?
A. No, I have not.
Q. Do you know of any of your colleagues that

have done that?

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A. No, I don't.

Q. Do you know whether it's ever happened that
anyone has evoked the CBA provisions to appoint
voluntary arbitrators?

A. No, I don't.

Q. But you would agree that it's in the CBA, a

provision for doing so, even though it may not have

been invoked to your knowledge?

A. Yes, it is.

Q. That's a "yes"?

A. Yes.

Q. Okay. Can you tell me who worked with you

or assisted you in formulating that CBA, Collective

Bargaining Agreement?

A. All the names are listed in the C -- in the
protocol.
Q. Oh, that's the protocol. Yes, yes, we'll

go back to that.

As I recall, Niles Nordh, from --

A. Star Cruises.
Q. ~- Star Cruises; Mr. Lara, from Curtis
Mase's office; Robert Kritzman, from the -- one of

the general counsel of the company?
A. That's correct.

Q. And who else was there?

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A. (No response.)
Q. well, I'11 come back to that.

But you didn't formulate it on your own,
that was the consensus of all the people; is that
correct?

A. Yes.
Q. Okay. There it is.
Sigve Bru was there also, right?
A. Yes, he was.
Q. Do you know where he is now? Is he still
in Miami?
A. No, I believe he lives in Norway.
Q. Near Oslo?
A. I'm not sure.
Q. Do you stay in contact with him?
A No.
Q. Okay. Have you ever been on a voyage of

the Norway or any of the other ships while they're at

sea on a regular voyage?

A. Yes, I have.

Q. Okay. Are many or most of the passengers
American?

A. Yes, they are.

Q. And does NCL have a base of operations in
Miami?

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A. Yes, we do.

Q. Most, to your knowledge, most of the
operations are run from the base of operations in
Miami; is that accurate?

A. Yes, that would be accurate.

THE COURT REPORTER: I'm sorry?
THE WITNESS: That would be accurate.
BY MR. HUGGETT:

Q. And depending upon the season, many of the
vessels’ home port is here in Miami?

A. On occasions, yes.

Q. And NCL is a foreign company, it 1s not an

American company?

A. Legally, I don't know.

Q. Does it fly -- the ships fly a Bermuda
Flag?

A. No, we do not. we do not.

Q. What do you fly?
A. Bahamas.
Q. A Bahamas flag, okay.
Do you know where the company is
registered?
A. In Bermuda.
Q. In Bermuda, okay.

Do you know why they fly a Bahamas flag if

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they are registered in Bermuda, if the company --
A. I don't know. TI don't know.
Q. To your knowledge, neither the flag -- none
of the ships fly an American flag?
A. At this point, no.
Q. And to your knowledge, the company, none --
the company, nor any of its related companies, 15
registered in the United States as an American
company?
A. I don't know.
Q. You don't know of any that are?
A. I don't know if there are any.
MR. MASE: Actually, I'm willing to

stipulate that a related company is registered
in the United States and does fly an American
flag.

BY MR. HUGGETT:
Q. Is NCL, the company that is NCL, Limited, a

foreign company, to your knowledge?

A. I don't know.
Q. You don't know, okay.
Do you know if -- Norwegian Cruise Lines

Limited does not pay any American income tax, do
they?

A. I have no idea.

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Q. Okay. And are you an American citizen?
A. No, I'm not.
Q. what is your status?
A. I am a permanent resident.
Q. Permanent resident, okay.

And do the land-based employees of NCL have
to pay American income tax?
A. We follow the uS laws.
MR. MASE: Objection, calls for a legal
conclusion.

BY MR. HUGGETT:

Q. Do you pay American income tax?

A. I'm sorry, I pay. I follow US tax laws.

Q. Okay. Now, the Filipino seamen onboard, do
they pay American income taxes?

A. No, they do not.

Q. Does NCL withhold any American income taxes
for those seamen?

A. No, we do not.

Q. And does Norwegian Cruise Lines in its

business compete with other American tourism?

A. That's not my area of expertise. I can't
answer that.

Q. You've been with the company 20 years. Is

it your opinion that they do compete, from your

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general knowledge?
MR. MASE: He's just answered the question.
BY MR. HUGGETT:

Q. Go ahead.

A. Yes.

Q. Okay. Can you tell us as an employee --
from time to time do you review any company
documents, financial documents?

A. Can you be more specific?

Q. Yeah. A lot of companies like, for
instance, Carnival put out a financial document every
year.

A. Yes, I see them.

Q. Okay. Can you tell me the gross revenue
for NCL for the last year?

A. No, I cannot.

Q. Is it over a half billion dollars?

MR. MASE: Don't answer that question.

Financial discovery is not permitted at this

stage. I move for a protective order pursuant

Rule 26 of the Federal Rules of Civil Procedure.

MR. HUGGETT: You'll will find it --

MR. Mase: Beg your pardon?

MR. HUGGETT: I don't agree with you.

MR. MASE: NO, I understand you don't agree
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as to the question. I just believe, you know,

in good faith, and I'll make a good faith

proffer for the record, I believe that financial
discovery at this stage in the proceedings is
inappropriate, and on that basis I move for
protective order.

BY MR. HUGGETT:

Q. The monies that NCL makes from its
Miami-based business largely comes from Americans,
does it not?

A. I don't know.

Q. Since most of the passengers are Americans
on the ship, as you told us earlier when you had
ridden on the ships?

A. I don't know if that's what I said, but
it's my understanding that most of the passengers are
Americans.

Q. Okay. And NCL would makes its money from

American passengers paying the price of the ticket?

A. From everybody paying the price of the
ticket.
Q. Okay. Now, would you agree that NCL does

compete with other American tourism that does pay
American income tax?

A. I don't know that.

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Q. Okay. You have no evidence to the
contrary, or no knowledge?
A. I have no knowledge.
MR. MASE: Object to the form.
THE COURT REPORTER: I'm sorry?

THE WITNESS: I have no knowledge of that.

BY MR. HUGGETT:

Q. Okay. Let's talk about what percentage
roughly your -- when you were -- your last job was
Superintendent of shipboard personnel.

Can you give me an estimate of the
percentage of the shipboard personnel that are

Filipino?

A. At this point in time?

Q. Sure.

A. Approximately 30, 30 percent.
Q. Thirty percent.

And what percentage would be American?
A. I don't know.
Q. would it generally be limited to people
like the band and entertainers and maybe cruise

directors?

A. No, I wouldn't say that.
Q. You don't know the percent?
A. No, I don't.

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Q. would it be a much smaller percent than the
number of Filipinos?
A. I would assume, yes.
Q. And roughly what would be the total number
of onboard personnel on the fleet at this time?
A. Approximately 11,000.

Q. So 30 percent of 11,000 would be the number
Filipinos, roughly?

A. Roughly.

Q. Do most of the Filipinos make similar wages

to what the ten involved in this case do?

A. without seeing their salaries, I can't
testify.
Q. Most of the men made between 500 and 600,

$650 a month that are involved in this case. would
that be typical of the Filipino wages?

A. No. And I beg to differ with your estimate
of their income.

Q. Okay. You want to take a look at the front
page of the document in front of you? This
particular man was a fairly long-time employee,
wasn't he, compared to the others?

A. I don't know.

Q. Okay. Is this particular man's basic wage

$366 a month?

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A. Basic wage, yes.
Q. And his overtime guarantee is 334?
A. Yes.
Q. would you say that would be typical of the
wages of the seamen, the Filipino seamen?
A. No, I can't -- I can't make that statement.
Q. Can't make that?
A. No.
Q. Okay. You think it's more or less?
A. More.
Q. More, okay.
Do you know how much the seaman Paul
Peralta made?
A. No, I don't.
THE COURT REPORTER: I'm sorry?
MR. HUGGETT: P-E-R-A-L-T-A.
BY MR. HUGGETT:
Q. Do you know how much the seaman Marcelino
-- Ronaldo Marcelino made?
A. off the top of my head, no. Unless I see
the payroll records, I can't give you that figure.
Q. Okay. why does NCL hire Filipinos?
MR. MASE: Asked and answered, I think.

THE WITNESS: well, I can tell you one of

the reasons is that --

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BY MR. HUGGETT:

Q. Okay.

A. -- the Philippines is extremely wel]
organized and regulated when it comes to their
overseas workers.

Q. Okay.

A. They have a very good -- they have good

work ethics. They're loyal people and they have a

reliable system when it comes to documentation,

authentication of the licenses, and things like that.

Q. In general, you say -- you included the
work ethics of workers themselves. They work hard,
is that what you mean, they work well?

A. They work well.

Q. And they're loyal, by that you mean that
they stick with the company, they -- they follow the
rules and regulations?

A. Yes, they do.

Q. And do they adapt well to the discipline of
shipboard life?

A. For the most part, yes.

Q. Okay. And they're nice people and they

work hard?
A. Yes, they're nice people and they work

well.

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Q. And they would be cheaper to hire than
Americans?

A. Is that a statement or -- or is that a
question?

Q. I'm asking.

A. I have no basis for making a comparison.

Q. well, in your duties when you were director

of shipboard personnel, did you hire people from many

different countries?

A. Yes, I did.

Q. And did that include any Americans?

A. Yes, it did.

Q. And were most of the Americans paid more

than most of the Filipinos?

A. we follow the pay scale in the CBA
regardless of nationality.

Q. My question 1S: Do you know, or maybe you
don't know, whether most of the Americans were paid
more than most of the Filipinos?

A. well, you're comparing different positions.

Yes, in general I would say yes.

Q. Okay. And do you have Europeans onboard?
A. Yes, we do.
Q. Are most of the Europeans paid more than

most of the Filipinos?

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A. No.

Q. They're not?

A. No.

Q. when the ship is in port, are Filipinos
allowed to come into the city to send money home or
buy something?

A. Filipinos, like everybody else, any
nationality.

Q. Okay. And they're -- they, to your
knowledge, they do come into Miami and make purchases
and buy a hamburger or something like that?

A. Yes, they do.

Q. Are they given any Filipino holidays off?

A. Yes, they are.

Q. And they don't have to work on those days,
or are they paid for them?

A. They're paid. If they work, they're paid
overtime.

Q. So they work all the Philippine holidays,
whatever they may be, but your statement is they're
paid overtime for that?

A. That was not my statement, no.

Q. Okay.

A. They're paid over time if they work on

Filipino holidays.

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Q. Okay. And they do work on the Philippine
holidays, don't they?
A. I don't know that.
Q. You don't know?
THE COURT REPORTER: I'm sorry?
THE WITNESS: TI don't know that.
BY MR. HUGGETT:
Q. well --
A. My statement was: If they do, they are
paid for it.
Q. Looking at that protocol again that we

discussed yesterday, you listed certain holidays that
were Philippine holidays, correct?

A. Yes.

Q. And is the intent that they should -- that
they may have off those days if they wish to?

A. No.

Q. Oh, okay. what is the intent of the
designated Philippine holidays for?

A. The intent is if the workload permits and
they wish to have the day off, they should be
permitted to do that. If they have to work, they're
paid overtime for it.

Q. Can you tell me the difference in a junior

deck and engine officer and a non-junior deck and

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engine officer?

| under different CBAs.

Q. Regular deck and engi
or lower than junior?
A. Higher.

Q. Higher. Okay.

officers in this list?

A. They're different positions and they fal]

ne officers are higher

And what are the actual

ranks in the deck and engine room?

A. You want me to list all the positions?

Q. Yeah.

A. Okay. Start with the Captain, Staff
Captain, chief officer, first officer, second
officer -- you want me to go down the list on the
ratings?

Q. Yes.

A. Bosun, Carpenter, repairman, AB, OS, deck
boy.

THE COURT REPORTER: Deck?
THE WITNESS: Deck boy.
BY MR. HUGGETT:
Q. where do you draw the line for junior deck

and engine officers and more senior deck and engine

A. Usually after first officer.
Q. First officer?
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A. Yes.
Q. So from second officer down would be the
junior, and non-juniors would be from the first
officer up?
A. Yes.
Q. In your fleet of 11,000, are any Filipinos
Captain?
MR. MASE: Asked and answered yesterday.
MR. HUGGETT: That's no?
THE WITNESS: NO.

BY MR. HUGGETT:

Q. In your fleet of 11,000, are any of them
Staff Captain?

A. No.

Q. In your fleet of 11,000, are any of them
chief -- I put CO. That's chief officer?

A. Chief officer. we had one. He resigned.

Q. Okay. Do you have any at this time?

A. No.

Q. Okay. Are, in the fleet of 11,000, any
Filipinos first officer?

A. Yes. I believe we have one.

Q. One, okay. But the other 30 percent are

all second officer and down?

A. That was certainly not my testimony.

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Q. Okay. As I understood your testimony, they
had -- at the present time you have one that's a
first officer; is that correct?

A. Yes.

Q. And none Captain, none the Staff Captain,
and none the chief officer?

A. Correct.

Q. SO may I assume that, therefore, except for
that one, all Filipinos are either second officer,
bosun, carpenter, repairman, AB --

THE COURT REPORTER: Second officer --
BY MR. HUGGETT:

Q. From second officer on down?

A. No. You're talking solely about the deck
department.

Q. Okay. we'll start with that.

A. Okay.

Q. All right. In this list that you gave me,
that I wrote down, and you drew a -- you drew a line

between first officer, Chief Officer, Staff Captain,

and Captain, right?

A. Yes.

Q. The ones below that line are junior
officers?

A Yes

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Q. Or regular ranks?

A. Yes.

Q. Is it true that only one Filipino is in the
ranks of first officer and above?

A. Yes.

Q. Okay. And therefore, in the deck and
engine crew of those that are the following ranks,
they're all junior officer, down --

A. Yes.

Q. Second officer, down?

when the term in the contract of employment
is up, whatever it is, ten months for the one we have
in front us, does the seaman receive any more pay or
benefits from NCL?
well, let's start with pay. Does he
receive any more pay after the ten months is up?
MR. MASE: I'm sorry. I don't understand
that. Do you mean like a bonus or continuation?
what exactly are you asking, because I'm
confused with the question.
MR. HUGGETT: I'11 ask it again.
MR. MASE: Thank you.
BY MR. HUGGETT:
Q. Referring to Mr. Abdi Comedia, you have a

copy of his contract right there in front of you

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there.

A. Uh-hmm.

MR. HUGGETT: Put that down a little bit

where you can see. Just a -- okay.
BY MR. HUGGETT:

Q. His duration of contract is ten months,
correct?

A. Yes.

Q. And after the ten months is up, is he
entitled to any further pay?

A. Providing he fulfills his contract and
signs off, no.

Q. Okay. Does NCL have any obligation to
rehire him?

A. No, we do not.

Q. would he have to go back through the

manning agency hiring process to get another job with
NCL?
A. Go through the hiring process, you mean the

interviewing process --

Q. Yes.

A. -- selection process? No.

Q. He can just come straight to NCL?
A. If he is to be rehired by NCL, yes.

Q. Okay. well, my question was: Do you have

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a provision for rehiring people? If this mr. Abdi

Comedia's ten months is up, I think you told me you

have no -- NCL has no obligation to rehire him --
A. Exactly.
Q. -- if they don't wish to?
A. If -- if we don't wish to, we have no

obligation to rehire him.

Q. Okay. And if Abdi Comedia, or any man ina
similar position, wants to come back and work for the
ship again, he would have to get another contract and
another visa letter?

A. Yes.

Q. Okay. The -- the visa letter or guarantee
of employment is what allows the seaman to enter this
country and get on the vessel?

A. A combination. It allows them to obtain a
c-1, D --

THE COURT REPORTER: I'm Sorry. Speak up.

Combination --

THE WITNESS: Combination. It allows them
to obtain a C-1, D, seaman's visa.
BY MR. HUGGETT:

Q. All right. To get that, they have to have

a letter of employment; is that correct?

A. Yes.

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Q. And if NCL doesn't get issued a letter of
employment, the seaman cannot get a seaman's or C-l
or D-1 visa?

A. The letter may be, also may be issued by
the manning agent.

Q. Okay, but he has to have that in order to
get the visa?

A. Yes.

Q. So without the letter of employment, he
can't get in the U.S.; is that your understanding?

A. If he doesn't have a visa, yes.

Q. Okay. And to get that C-1 or D-1, which is

a seaman's visa, he needs that letter of employment?
A. Yes.
Q. So NCL would control his entry into the
United States?
MR. MASE: Objection to the form of the
question.
THE WITNESS: No.
BY MR. HUGGETT:
Q. If you didn't give that letter of
employment, he couldn't get here, could he?
A. He could get it from anybody else.
Q. I understand. But if he wants -- if he

wants to get one from NCL, he has to get that in

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order to enter?

A. To obtain his visa, yes, that's correct.

THE COURT REPORTER: I'm Sorry, to --

THE WITNESS: Obtain his visa.

MR. HUGGETT: Okay. Let's take five
minutes.

THE VIDEOGRAPHER: Standby to go off the
record. we're off the record.

(Thereupon, a brief recess was taken, after

which the following proceedings were had:)
THE VIDEOGRAPHER: All right. Standby,
please. One moment, complete.
And we're back on record. This is
videotape number two for today.
MR. HUGGETT: In the depo of Kjell
Hjartnes, September the 12th.
BY MR. HUGGETT:

Q. A Mr. Herbert A. Tria (phonetic), who is a
six-year lawyer associate in the firm of Del Rosario
& Del Rosario, filed an affidavit. Did you get to
read that yet?

A. No, I did not.

Q. And in that he lists some cases that have
been filed by Filipinos. And then he states that 47

percent of those have been claims by Filipino

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overseas seafarers.
Do you also -- here, I'1] show you that if
you want to see it. There's more. wow. Take a
break.
THE VIDEOGRAPHER: Standby to go off the
record. And we're off.
(Thereupon, a brief recess was taken, after
which the following proceedings were had: )
MR. HUGGETT: Ready?
THE VIDEOGRAPHER: Standby, sir. One
moment. And we're back on the record.
BY MR. HUGGETT:
Q. Mr. Tria is listing some claims filed with
the national NLRC. Do you also receive any reports

of claims filed?

A. Statistics you mean?

Q. Yeah, the case or statistics or what have
you.

A. I'm usually copied on them, yes.

Q. Can you tell us of these numbers that he's

listed, or of any numbers, how many involve U.S.

based cruise ships?

A. I have no idea.
Q. Do you know the number of claims filed, if
any, against -- this year, let's say, by NCL

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seafarers, against NCL?

A. No, I do not.

Q. Can you tell me whether -- what percentage
of these claims filed were won by the seafarer?

A. I don't know.

Q. Can you tell me, of these claims filed, how
many seafarers ever received any monies?

A. No, I cannot.

Q. Do you know whether, of the total claims
filed what percent involved disputes about a job
position or what percent involved a death or what

percent involved a burn, any of that kind of numbers?

A. No, I cannot.

Q. Do you know if any of these involved
contract disputes that did not involve an injury?

A. No, I do not.

Q. Do you get reports from -- what's the name
of the agency that you get reports from?

A. CF Sharp or Magsaysay.

Q. I imagine they're the ones that forward it
to you, but I mean who is the report from? Is it --
do you get them from the --

MR. MASE: He wants to know who makes the
report.

THE WITNESS: More than likely, it would be

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from their attorneys.
BY MR. HUGGETT:

Q. well, I thought you said yesterday, and
maybe I didn't -- you got decisions of the National
Arbitration, the Labor Arbitration Board; is that
accurate?

A. Yeah, that's -- that's accurate. I get the

-- I don't know if I get all of them. I get some of

them.
Q. You get some?
A. Yes.
Q. Is that the same thing as the POEA or the

National Labor Relations Commission?

A. Yes, NLRC, National Labor Arbitration
Commission.

Q. Okay.

THE COURT REPORTER: I'm Sorry, National --
THE WITNESS: Labor Arbitration Committee.
BY MR. HUGGETT:

Q. Okay. And do you know whether NCL has paid
any that involve a personal injury as a result of
negligence?

A. I don't know.

Q. Okay. Do you have any statistics or

knowledge, or do you know of anybody within your

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company that has any knowledge or statistics of how
much money either individually or in the aggregate
has been paid to seafarers making personal injury
claims under the National Labor -~- NLRC?

A. That would be handled by our legal
department.

Q. The legal department, okay.

And do you know whether there are any -- do
you know whether the -- well, I'm sorry, I didn't ask
it thoroughly. Good answer.

Do you know whether they keep statistics of
that?

A. No, I don't.

Q. Okay. And do you know whether they keep
any track or relation of the number of personal
injury or death claims that have been paid through
the American tort system here in Miami?

A. No, I don't.

Q. Okay. we do know that there are many such
claims against NCL by seamen?

MR. MASE: Objection to form.

THE WITNESS: Are you telling me I know

that or are you asking me if I know?
BY MR. HUGGETT:

Q. Do you know that?

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A. I know there are cases.

Q. If NCL were able to shift all of those
cases that are brought against it, lawsuits here in
the United States, to the Philippines under the NLRC,
it would save the Philippines -- it would save NCL a
lot of money, would it not?

MR. MASE: Objection to form. Lack of
qualification on the part of witness.

THE WITNESS: I have no idea.

BY MR. HUGGETT:

Q. Okay. If NCL were to transfer all of these
cases to the Philippines, do you think it would give
them a competitive advantage over other American
tourism?

MR. MASE: Objection to form, lack of
qualification on the part of the witness, lack
of foundation.

THE WITNESS: Again, I don't know.

BY MR. HUGGETT:

Q. Okay. These ten men, is your understanding
of that -- the four men that are alive, are they, to
your understanding, limited in their recovery to the
schedule set forth in the standard terms which you
have in front of you --

MR. MASE: Objection to form.

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BY MR. HUGGETT:
Q. -- if they recover in the arbitration in
the Philippines?
A. I don't have any legal opinion.
Q. well, this document which you have, and is

attached to the contract of Abdi Comedia, filed by
your attorneys, lists a series of numbers from -- as
a percentage of 50,000 for claims, doesn't it?

A. yes.

Q. It starts at 50,000, and from there on down
it's some percentage of that, correct?

A. That's correct.

Q. Can you tell me what is the maximum death
claim under the collective bargaining agreement that
you participated in making?

A. In the CBA, it's $60,000 to the spouse, and
15,000 to each child under the age of 20.

Q. Okay.

A. Limited to four.

THE COURT REPORTER: Limited?
THE WITNESS: Limited to four children.
BY MR. HUGGETT:

Q. Do you know how many of these widows have

children under 20?

A. No, I do not.

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Q. The -- putting aside for the moment the
children, if each of these widows were to receive
60,000 under the Collective Bargaining Agreement, and
each of the live seamen were to receive the maximum
of 50,000, would that come to a total of 760,000?

A. I don't know.

Q. well, I have added up six 60s to get
360,000. Aside from the math, I'm trying to see if
you follow the procedure.

MR. MASE: Mr. Huggett, you noticed a Rule

30 (b) (6) deposition in this case, and you set

out, I believe, 13 areas of inquiry about which

you asked that NCL produce a corporate
representative, and I think that I have been
beyond indulgent and patient in allowing you to
go far beyond the scope of the noticed
deposition.

What you're doing now is you're -- I don't

know what you're doing, making some form of a

closing argument using a witness, asking him to

form calculations that you can certainly perform
yourself, and it isn't testimony.

You're beyond, you have exceeded the
permissible time period under the Federal Rules

of Civil Procedure without leave of court for

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taking deposition.
And again, because of the gravity and
seriousness of the case and our time
constraints, I've been indulgent, but I'm

beginning to think that your plan here is simply
to harass, annoy, and to some extent goad the
witness and me into terminating this deposition.
I move for protective order now on this
record pursuant to Rule 26 to prevent you from
asking, harassing, inappropriate,
far-beyond-the-scope questions, not designed to
elicit relevant or material evidence from a
witness, who clearly it's inappropriate to ask
questions from.
If you persist, I'l] terminate the
deposition.
BY MR. HUGGETT:
Q. Sir, assume that, for me, the moment that
the -- each of the widows received the maximum of 60,
and that total is 360 --
THE COURT REPORTER: And that total 1s?
MR. HUGGETT: 360.
BY MR. HUGGETT:
Q. And assume for the moment that each of the

live men received fifty, which is a total of 200,000.

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Assume my math is correct for a moment, that it's a
total of 760,000, assume that's correct.
A. Okay.
Q. That would be far less than the $2 million

that the attorneys have estimated the cases are worth
in these courts, would it not?

MR. MASE: Objection to the form of the
question. The witness lacks the qualification
and has no foundation upon which to answer that.

He iS not a lawyer by training or otherwise
and can't express an opinion on what the people
could recover in these courts.

It's beyond the scope of the Rule 30 (b)(6)
deposition notice as well.

If you know the answer, you may answer.

THE WITNESS: Simple math. Yes, of course.

BY MR. HUGGETT:
Q. Okay.

MR. MASE: You need a break, you let us

know.
BY MR. HUGGETT:

Q. Do you have any -- as the director of human
resources, or one of the directors, would it -- would
your company save money by having all of these, all

personal injury claims resolved in the Philippines

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pursuant to the Philippine POEA process?

MR. MASE: Objection to the form of the
question, lack of qualification on the part of
the witness to answer the question; lack of
foundation, inadequate predicate, speculative.

THE WITNESS: I cannot speculate.

BY MR. HUGGETT:

Q. You don't know.
A. No, I don't know.
Q. Okay. If a seaman, these ten -- if these

live seamen were injured aboard your ship, and their
injuries resulted in a loss of earning capacity, are
their claims for loss of earning capacity subject to
arbitration before the NLRC?

MR. MASE: Objection to the form of the
question; lack of qualification and predicate,
speculative.

THE WITNESS: I can't -- I can't speculate
on that.

BY MR. HUGGETT:

Q. You don't know?
A. No, I don't know.
Q. You do receive from time to time various

opinions of that National Labor or Labor Commission

though?

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Q. And have you received the Supreme Court
case, very recent of April 10, 2003, called Tolosa
versus National Labor, Labor Commission, Asia Bulk
Carriers, et cetera. And I'11 hand you a copy.

A. No, I have not. If I have, I have not read
it.

Q. Is it the policy of NCL to try to comply
with the laws of the Philippines as it relates to
POEA claims?

A. Yes, it is.

Q. Okay. And would you agree that the Supreme
Court has found that in this case -- and I've yellow
highlighted the places for you -- that in a claim for
negligence resulting in loss of -- and death and loss
of earnings, that the Supreme Court found that the
POEA had no jurisdiction?

MR. MASE: Okay. I object.
THE WITNESS: I --
MR. MASE: Mr. Hjartnes 1s not a lawyer.

He is not qualified to interpret U.S. law or

Philippine law. He lacks qualification, he

lacks education. There is no foundation for

this question. There's no predicate.

THE WITNESS: I have no idea what this case

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is about, so I can't answer your question.
BY MR. HUGGETT:
Q. It is -- it iS your job, and NCL's intent

when they draw these contracts, and when you
Supervise your manning agencies, to comply with
whatever are the applicable laws for the seaman; is
that correct?
MR. MASE: Objection, asked and answered,
about three times now.
THE WITNESS: That's the purposes --
purpose of having a manning agent.
BY MR. HUGGETT:

Q. Okay. And if the Philippine Supreme Court
found that there was no jurisdiction for claims for
loss of earnings as a result of negligent or tort,
would you follow that case?

MR. MASE: Objection to the form of the

question. Mr. -- lack of qualification, lack of

predicate.

It's also asking him to express an opinion
on what the company would do legally. tI don't
think that's appropriate. And you know what

else, the only basis from which he could know

whether or not the company would fall the law of

the Philippines would be communications from

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NCL's counsel and NCL's general counsel.

On the basis of privilege, I instruct him
not to answer. Don't answer that question.
Attorney/client privilege.

MR. HUGGETT: Oh, you're going to lose
that.

MR. MASE: well, then I'll -- I'11 puta
little second alternative basis.

Pursuant to Rule 26, I move for protective
order as to that question as being harassing,
burdensome, beyond the scope of the deposition
notice. But in the event I'm wrong, let me hear
it back again one more time.

Can I hear it.

THE COURT REPORTER: Your objection?

MR. MASE: Yeah, I just -- no, I want to
hear the question. I don't want to go through
the experience again.

(Thereupon, the pending question was read

by the reporter as above-recorded.)

MR. MASE: Yeah, I'll let him answer. My
objection, however, is lack of predicate, lack
of qualification, lack of foundation,
speculative.

You can answer if you know.

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THE WITNESS: It would be pure speculation
on my part, and I can't answer it.
BY MR. HUGGETT:

Q. Okay. Is -- does the -- does the company
and human resources department of which you are the
director attempt to comply with regulations and rules
of the Supreme Court as it affects the seaman's
claims?

A. No. That's the job of our legal
department. Legal and claims department deal with
all those issues.

Q. Okay. And -- but it is the company's
policy as a whole, regardless of through which
particular department, to comply with the rules and
regulations of the POEA and the Philippines for
seamen's claims which you employ?

A. Yes.

MR. HUGGETT: Okay. why don't we attach

that case to the deposition as Exhibit 2.

(Informal discussion off the record.)

THE WITNESS: I don't read these opinions,
so -- like that.

MR. MASE: we will attach it. It was
whatever is, 2 or whatever.

MR. HUGGETT: It should be 3.

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(The document referred to was thereupon
marked "Plaintiff's Exhibit No. 3 for
Identification," a copy of which is attached
hereto.)
BY MR. HUGGETT:
Q. Now, you do get opinions, you told us, from
the National Labor Relations Commission?
A. In cases --
Q. In cases?
A. -- rendered against Norwegian Cruise Line,
yes.
Q. Okay.
A. Yes.
Q. And you -- what's the purpose of you
getting those and taking those into account?
A. Courtesy, I suppose. I'm just copied on
them.
Q. And what do you -- do you attempt to follow

them? You mean just read them like the comic books
or what's -- why do you keep them and get them;
what's that purpose?
A. I'm copied on them.
MR. MASE: Object to the form of the
question.

THE WITNESS: They are sent to our legal

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department with a copy to me.
BY MR. HUGGETT:
Q. And why is it copied to you?
A. You have to ask the sender that.
THE COURT REPORTER: You have to ask --
THE WITNESS: The sender.
BY MR. HUGGETT:
Q. And what purpose do you make of them?
MR. MASE: Objection to form.

THE WITNESS: I'11 usually read them, and
file them.
BY MR. HUGGETT:
Q. Okay. Do you attempt to implement what
decisions you see?

MR. MASE: Objection to form.

THE WITNESS: No, that's not my -- my job.

BY MR. HUGGETT:
Q. Not your role, okay.
But it is part of your job to make sure

that the company complies with the requirements of

the POEA?
A. That's correct.
MR. MASE: Objection to the form of the
question.

BY MR. HUGGETT:

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Q. Okay. And is that part of your job or is
that the legal department?
A. I don't think I understand your question.
Q. well, is that part of your duties in human

resources to follow the rules and regulations of the
POEA and the Philippine government or is that
strictly the legal department?

A. I -- then I missing the point, but --

THE COURT REPORTER: I'm sorry. Speak up.
THE WITNESS: I must be missing the point
in your question.
BY MR. HUGGETT:

Q. well, is 1t part of your job to see that
your NCL, insofar as working with the Philippine
seamen, follows the rules and the regulations of the
POEA?

A. Yes.

Q. Okay. Now --

MR. MASE: This is going to be about the
fifth time he's testified to that.
BY MR. HUGGETT:

Q. Now, is that your job or the legal
department's job?

A. well, I must be -- or I may be missing your

point completely. what I just said is that in legal

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cases, legal -- in cases that have gone through the
Labor Arbitration Board, and we get a decision from
them, it is sent to our legal department with a copy
to me.

Q. Okay.

A. when it comes to following POEA

requirements, it's an HR issue.

Q. It's a what?
A. A human resources issue.
Q. Okay. And how do you find out those POEA

rules and regulations that's an HR duty?
A. How do I find out?
Q. Yeah, how do you find out what you're

supposed to do?

A. By follow the requirements from the POEA.
Q. Okay. And how do you learn those?
A. well, we have the standard terms and

conditions which is part of the conditions by POEA.

Q. Is that the only thing that you follow or
do you seek any other advice?

A. we have hired manning agents in the
Philippines to conduct business on our behalf.

Q. Okay.

A. To make sure that we follow the

requirements by POEA.

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Q. Okay. And you rely on their advice or do
you seek to learn it independently yourself; and that
is, you, meaning the department of human resources?

A. I think a combination.

Q. Okay. And how do you do it independently?
I understand the part about relying on their advice,
and as far as the combination, how do you do it
otherwise?

A. If we receive memorandums from the POEA
with changes of the requirements, we make sure that
our manning agent implements the same changes.

MR. HUGGETT: Let me read that back.
MR. MASE: Can you read that back, please.
(Thereupon, the pending question was read
by the reporter as above-recorded.)
MR. MASE: Okay.
BY MR. HUGGETT:

Q. So, then part of your regular work is to
receive memorandum or rulings from the POEA, and then
you somehow make sure that your manning agents do
that?

A. I -- you're referring to rulings. I'm not
-- I'm not sure what you refer to.

Q. Okay. well, let's stick to just your

answer. when you receive memorandums from the POEA,

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how do you make sure that your manning agencies
follow those?

A. we usually get them through the manning
agents.
Q. So it's just a circle right back?
MR. MASE: Is that a question?
MR. HUGGETT: I'll rephrase it for you,
sir.
BY MR. HUGGETT:
Q. Do have you any independent means of
getting -- of learning what is the rules and

regulations of the POEA aside from what your manning
agents send you?
MR. MASE: Objection to the form of the
question.
THE WITNESS: Yeah, I think I testified to
that yesterday, that all the rules and
regulations are available on-line.
BY MR. HUGGETT:

Q. Okay. Do you read them and use them?

A. I have -- do I read them and use them? I
read them, yes.

Q. what I'm trying to find out is -- does the
human resources department, which you are a director

of, use any form that's available, website or

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otherwise, in telling your manning agencies what
rules and regulations to follow?
A. No.
Q. you don't, okay.
In other words, you rely on them to learn
it and them to follow it?
MR. MASE: Objection to form.
THE WITNESS: That's one of the reasons why
we have --
THE COURT REPORTER: I can't hear you.
THE WITNESS: That's one of the reasons why
we have a manning agent.
BY MR. HUGGETT:
Q. Is that, the answer to that, yes, we do?
A. Yes, we do.
MR. HUGGETT: Okay. we'll take --
THE VIDEOGRAPHER: we'll go off the record.
Standby. And we're off.
(Thereupon, a brief recess was taken, after
which the following proceedings were had:)
THE VIDEOGRAPHER: All right. Standby.
we're back on the record, sir.
BY MR. HUGGETT:
Q. If the law of the Philippines is that tort

claims for injuries are not within the jurisdiction

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of the labor arbitrators, would NCL attempt to see
that its manning agents implement that?
MR. MASE: Objection, speculative, lack of
qualification.
THE WITNESS: I -- I can't answer that.
I'm not -- I'm not a lawyer, so I don't know.

BY MR. HUGGETT:

Q. You don't know?
A. No, I don't know.
Q. will NCL attempt to have its manning agents

instruct and tell the seamen whatever is the correct
law as NCL understands it?
MR. MASE: Objection, speculative, lack of
qualification.
THE WITNESS: I can't answer it.

BY MR. HUGGETT:

Q. Don't know?
A. I don't know.
Q. All right, sir.

At the present time is NCL having its
manning agents in the predeparture orientation
instruct the seamen that they must arbitrate their
disputes?

A. They're instructed to follow the POEA

requirements.

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Q. And does that include instructing the
seamen that they must arbitrate their disputes?

A. Yes.

Q. And does that include instructing the
seamen that they must arbitrate a tort claim for
injuries?

A. I can't -- I don't have a legal opinion on
that.

Q. All right. I'11 change -- does NCL

instruct its manning agencies to orient the seamen in
their -- tell the seamen in their predeparture that
they must bring an arbitration claim if they're
injured on the ship and seek compensation?

MR. MASE: Asked and answered.

THE WITNESS: They're instructed to follow

the POEA requirements.

BY MR. HUGGETT:

Q. And does that include, as you understand
it, telling them that they must bring an injury claim
for an accident and loss of earnings in the
arbitration process?

MR. MASE: Asked and answered.
THE WITNESS: They have to follow the --
what's set out in their standard terms and

conditions.

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BY MR. HUGGETT:

Q. But I'm asking you whether that includes
telling them that they must arbitrate an injury claim
that asks for loss of wages?

A. I don't know.

Q. you don't know, okay.

In looking at Section 20 of the document
before you in the Standard Terms and Conditions,
specifically 20 (€a)(4)(c), are you familiar with that
provision which requires the payment of $1,000, U.S.,
for burial expenses in the case of a death?

A. yes, I am.

Q. Okay. And has the $1,000 burial benefit
been paid to the widows in this case?

A. I don't know.

Q. Have you flown to the Philippines since
this case?

A. Yes, I have.

Q. And did you meet with or talk to, or have
your manning agencies talk to any of the widows about
receiving the $1,000 burial expenses?

A. I have, yes. The answer is yes.

Q. And did you attempt to pay the $1,000
burial expenses pursuant to this contract?

A. we did to two families.

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Q. Two families. Two of the families in this
lawsuit or two of the others deaths?
A. I think one of the families in this
lawsuit.
Q. Okay. And what is the reason that all of

the widows were not paid the $1,000 burial expenses?
A. I don't -- my testimony is I don't know
whether it has been paid or not, so I can't speculate
on the reason if it has not been paid.
Q. Okay. But you know that one -- you know

that two have been paid?

A. No, I don't know that.

Q. Oh, I'm sorry. I thought you --

A. we attempted to pay two.

Q. Oh, you attempted to pay two?

A Yes.

Q. But you don't know whether they have?

A I know one of the families didn't want it

at the time.

Q. Okay. Is it your understanding, as
director of human resources, that they -- that each
widow is entitled to $1,000 burial?

A. Yes.

Q. And if the widow, through its attorney,

made a claim, would you honor it?

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A. Yes.

Q. Do you know who built the boilers on the
Norway?

A. No, I do not.

Q. Do you know who maintained the boilers on
the Norway?

A. No, I do not.

Q. Other than the NCL people?

A. No, I do not.

Q. Do you Know who inspected the boilers?

A No, I do not.

Q. Do you know where the ship goes -- the
NORWAY went for its last dry-dock?

A. I believe they went to Germany.

Q. Do you know which would be the name of the

dry-dock company within Germany?
A. Again, I believe it's Lloyd worth
(phonetic).
THE COURT REPORTER: I'm sorry, I believe
it's --
THE WITNESS: Lloyd worth -- Lloyd Yard, in
Bremerhaven.
MR. HUGGETT: AS in Galliano.
BY MR. HUGGETT:

Q. And has -- to your knowledge has NCL come

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to any conclusions as to why the boiler exploded?

A. I have no idea. I'm not involved in it.

Q. Has NCL limited ever been convicted of a
crime?

A. I don't know.

Q. Let me hand you a judgment in a criminal
case, signed by Joan Leonard, reflecting that NCL,

Norwegian Cruise Lines, was convicted of the offense
of failing to report and falsely reporting oil
overboard discharges of oil-contaminated bilge waste,
and ask you if that refreshes your memory?

MR. MASE: I hope you'll also hand him the
minutes --

THE COURT REPORTER: I'm sorry?

MR. MASE: I hope you'll] also hand him the
minutes of the transcript of the plea deal where
she publicly commended NCL for being a good
corporate citizen, voluntarily disclosing
environmental violations, and working through
issues to the plea agreement with the U.S.
Attorney's Office, because if you're going to
ask him about stuff like this, Mr. Huggett, you
ought to make it balanced and fair.

MR. HUGGETT: That's your job.

MR. MASE: Okay. well, don't worry, I

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will.
THE WITNESS: Does it refresh my memory?

MR. HUGGETT: Yeah.

THE WITNESS: No. I thought we had entered

into a plea bargain, and so it does not refresh
my memory to --
MR. HUGGETT: Okay.
THE WITNESS: -- to your question.
BY MR. HUGGETT:

Q. So “you don't know" is the answer? You
don't know if NCL was ever convicted of a crime?

A. well, I do now, after you're showing me
that.

MR. HUGGETT: Hold on, gentlemen.
BY MR. HUGGETT:

Q. Okay. Is the CBA -- and I'm showing you
copy attached to a pleading filed by your attorneys
on their Motion to Compel Arbitration, dated
October 1, 2001, the latest one?

A. Yes, it is.

Q. And is that supposed to be, and currently

in effect at the present time?

A. Yes, it is.
Q. Does this one attached contain of all

the -- take a second and look through it -- contain

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all of the CBA and any attachments or schedules or
what have you?

A. It appears to.

Q. And NCL would consider this binding upon
the ten men in this case, whether they knew about it
or not?

MR. MASE: Object to the form of the
question.
THE WITNESS: No.

BY MR. HUGGETT:

Q. They don't consider it binding?

A. You said for the ten people. This is
only -- only, I believe, five.

Q. Okay, the deck and engine. NCL consider
this CBA binding on the ten -- five deck and engine

personnel, whether they know about it or not?

A. I think we're contending they know about it
and they have again -- have been given a copy.
Q. Okay. Are you contending that it's binding

upon them?

MR. MASE: Objection, calls for a legal
conclusion on the part of the witness, no
qualification, speculative.

THE WITNESS: I can't speculate.

BY MR. HUGGETT:

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me.
BY MR. HUGGETT:
Q. No? There's another --

CB --

me.

BY MR. HUGGETT:

a separate CBA for catering personnel?

A. Yes, there is.
Q. Okay. And it's not attached here?
A. I don't know.

242
Q. You don't know?
A. No, I don't know
Q. Okay. Do you contend that the CBA is
binding upon and covers the six non-deck and engine
personnel?

MR. MASE: Objection. calls for a legal
conclusion, lack of qualification, lack of
predicate, speculative.

THE WITNESS: Not the CBA you just showed

THE COURT REPORTER: I'm sorry. Not the

THE WITNESS: Not the CBA he just showed

Q. Is there another one?
A. Yes, one for catering.
Q. Okay. I'm sorry, I didn't ask.
Is the one for -- is there a different and

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Q. well, you didn't -- is it -- you have a
copy in your office, I presume?

A. yes, I do.

Q. And is it the contention that the CBA
for -- there is a CBA that covers catering --
Filipino catering personnel?

A. All catering personnel.

Q. All catering?

A. Yes.

Q. And that includes the Filipinos?

A Yes.

Q. And is it your contention that the CBA for

the -- is for hotel workers, includes the five hotel
workers in this case?

MR. MASE: Objection, calls for a legal

conclusion, lack of qualification and predicate.

THE WITNESS: In my opinion, yes.

BY MR. HUGGETT:

Q. And do you know if that CBA for the hotel
workers has been produced in this case?

A. I have no idea.

Q. You don't know. And is it your position
that the CBA for the hotel workers either would have
or should have been given to the hotel workers in

this case?

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MR. MASE: Objection to the form of the
question, calls for a legal conclusion, lack of
qualification and predicate.

THE WITNESS: A copy should have been given
to them.

BY MR. HUGGETT:

Q. And when would it be given to them?

A. It should be given to them prior to
departing Manila.

Q. Okay.

THE COURT REPORTER: Prior to departing --

THE WITNESS: Departing Manila.

BY MR. HUGGETT:

Q. And are they instructed or told by your
manning agents that it is binding upon them or are
they simply given a copy?

A. I don't know.

MR. HUGGETT: Okay. You may ask questions.

MR. MASE: That means you are finished.

MR. HUGGETT: Unless your questions provoke
something further.

MR. MASE: Okay.

MR. HUGGETT: If you have none, then I am
through.

MR. FARKAS: DO you want a break, Kjell?

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1 (Thereupon, a brief discussion was held off
2 | the record.)
3 MR. MASE: What's that?
4 THE COURT REPORTER: I just said, be
5 careful to speak up, because when he turns his
6 head, it will be hard to hear him.
7 MR. MASE: Yeah. I mean unfortunately with
8 the whole video setup, he's looking one way, and
9 you're off to the other side. It's kind of -- I
10 don't know what that's going to look like on
11 video, so -- but I have my other objection with
12 respect to that as it jis. 15:
13 CROSS-~EXAMINATION
14 |] BY MR. MASE: 15:
15 Q. All right. Mr. Hjartnes, let me ask you 1S:
16 | just some follow-up questions. 15:
17 yesterday you'l] remember that Mr. Huggett /15:
18 | showed you the plaintiff's notice of Rule 30 (b)(6) 15:
19 | deposition, and that was marked as an exhibit in this /15:
20 | deposition. Do you remember that? 15:
21 A. yes. 15:
22 Q. And that exhibit designates a number of 15:
23 | areas of inquiry that he indicated that he wanted to |15:
24 | make to a representative of NCL, and that's how you 1S:
25 | got to be here for the deposition for two days. 15:

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I want to go over that and ask you some
questions. All right?
A. Okay.
Q. All right. My first question is --

(Thereupon, a brief discussion was held off

the record.)
BY MR. MASE:

Q. My first question, Mr. Hjartnes, is this:
Do you, yourself, personally know the dates and
locations that the arbitration agreement, which is
incorporated into the Standard Terms and Conditions,
was negotiated?

A. No, I do not, because we are not a part to
the negotiations.

Q. Do you have any reason to believe anyone at
NCL would know that?

A. No, I don't.

Q. Okay. Do you know the participants, the
people, that is, that actually were involved in the

negotiations to come up with the arbitration

agreement?
A. No, I do not know.
Q. we've heard some discussion about unions,

and union membership, and I want to see if I can get

that clear and oriented in my mind.

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In this case you have a number of Filipino
nationals who served as seamen onboard NCL's ship the
NORWAY, right?

A. That's correct.

Q. All right. Explain to us, if you would,
please, how each of these seamen had any
representation or involvement with any union; and
explain what that union is.

MR. HUGGETT: Objection. He's already said
he doesn't know.

MR. MASE: You can answer.

THE WITNESS: well, the -- both Collective
Bargaining Agreements are negotiated with
Norwegian Seafarers Union.

BY MR. MASE:

Q. when you say "both," you're referring to
catering personnel and non-catering, or deck
personnel?

A. Catering -- catering and deck and engine.
The catering CBA is negotiated by NSU on behalf of
the seafarers.

The deck and engine CBA is negotiated with
NSU on behalf of the different unions involved with
the seafarers, being amosuP for the Filipino National

Deck and Engine personnel; the Norwegian engineers --

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or Norwegian Marine Engineer's Union for engineers;
and the Norwegian Officers Union for other officers.

And each of the seafarers are deducted

union dues, which is paid to their respective unions.

Q. Does the union receive any payment from
NCL?

A. No, they do not.

Q. So the sole source of the union's payment

is from the crew members that the union represents?

A. well, let me clarify that. The NCL pays
the union on behalf of the seafarer based on
deductions from each seafarer.

Q. In other words, NCL collects the money and
sends it over?

A. That's correct.

Q. But it 1S not NCL paying the union; it's
the NCL transmitting the dollars the seafarers pay?

A. That's correct.

Q. And the NSU, the Norwegian Seafarer's
Union, you mentioned that it has a relationship to

the ITF, International Transport Federation.

A. That's correct, it's an affiliated union.
Q. And is the -- does the ITF have any
affiliation with any unite -- any unions here in the

United States?

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A. Yes. They're affiliated with the -- help

me out with the letters. A-C -
THE COURT REPORTER: with the?

BY MR. MASE:

Q. with the AFLCIO?

A. AFLCIO, yes. They're an affiliated union.

Q. The Collective Bargaining Agreements, or

CBAs that we've heard you talk about, how often are
those renegotiated or negotiated?

A. Usually every three years, with updates on
a yearly basis. Sometimes they're updated more than
that through protocols, where we -- we can change the
salary levels, we can change position, but usually
the CBA itself is renegotiated every -- every two or
three years.

Q. You've been involved in the process of
negotiating the Collective Bargaining Agreements with
the Seafarer's Union for sometime now; is that right?

A. Yes, since 19 -- since 1999, the end of
1999.

Q. Now, I know you're not a lawyer, but I want
to ask you whether or not you know if the Collective
Bargaining agreements and the negotiations by the
Norwegian Seafarer's Union in connection with the

Collective Bargaining Agreements, have resulted in

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seamen getting benefits that they otherwise were not
entitled?

MR. HUGGETT: Objection to the form.

MR. MASE: I'll rephrase it.
BY MR. MASE:

Q. you understand there are certain things
which seamen are entitled to under u.S. law, under
Norwegian law, under other laws, correct?

A. Yes.

Q. Under the Collective Bargaining Agreements
are there other benefits beyond the minimum which the
seamen are given?

MR. HUGGETT: Object to the form.
BY MR. MASE:

Q. For example, vacation pay, overtime pay,
limits on overtime, that kind of thing?

A. Yes.

Q. Are they also given certain forms of
insurance?

A. Yes.

MR. HUGGETT: Object to the form to all
these.
BY MR. MASE:
Q. Retirement benefits.

A. For some of them, yes.

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Q. Okay. Now, we've heard some discussion
about a Tripartite working Group. Can you explain to
us what your understanding is of what the Tripartite
working Group is.

A. It's a -- as I understand it, it's an
advisory working group to the POEA consisting of
members from the Department of Labor in the
Philippines --

THE COURT REPORTER: I'm sorry?

THE WITNESS: Department of Labors --
Department of Labor, representative for the
union, and representatives from the industry,
being the manning, manning agencies.

BY MR. MASE:

Q. when you say the "industry," do you mean
like NCL, the cruise lines, that kind of thing?

A. No.

Q. Did NCL have any representation at all in
the Tripartite working Group?

A. No. This was an internal Filipino
government commission that we have no -- no
representation of.

Q. what about the POEA itself in the Circular

Number 4 and the memorandum -- or

Memorandum 4 and Circular 9 -- or I guess it's

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Department Order 4 and Memorandum Circular
Number 9, and the terms of conditions, did NCL have

any input into those?

A. No.

Q. Was NCL consulted about those?

A. No.

Q. why does NCL use these?

A That's part of the -- part of the agreement

we have with the Filipino government in order to do
business in the Filipinos, we have agreed to abide by
the POEA rules and regulations and their
requirements, including using an accredited manning
agent in the Philippines.

Q. why don't you just use a nonaccredited, and
disregard the POEA stuff?

A. well, there are many reasons for that, but
one of them is that a Filipino seafarer, unless he
holds in his hand an approved contract from the POEA,
he's not allowed to leave the country.

MR. HUGGETT: Your memory's gotten so much
better. I'm just overwhelmed. It's a good
thing this is on video.

MR. MASE: Did you finish your answer?

THE WITNESS: I forgot what I was talking

about.

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I don't know if you've ever been to the
Philippines, but when you get to the airport in
Manila, there are -- you have to go through
immigration to exit the country.
Anybody visiting, you and I, will go
through the visitors’ line. Any overseas
workers has to go through designated lines. And
unless they have documents approved by the POEA,
they cannot leave the country.
BY MR. MASE:

Q. what does POEA stand for?

A. Philippine Overseas Employment
Administration.

Q. Are there any signs about the POEA in the

Philippines that you've seen?

A. Any signs?
Q. Uh-huh. How about at the airport?
A. Yeah, at the airport it clearly states that

you have to have POEA-approved documents to exit the
country, if you're an overseas worker.

Q. Based upon your understanding and knowledge
from working at NCL, can you describe the process
which you understand the Philippine citizen goes
through if he seeks to become employed with NCL, kind

of walk me through that process?

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MR. HUGGETT: Objection to the form. He's
just been -- spent hours saying he hadn't the
foggiest idea.

BY MR. MASE:

Q. Go ahead, Mr. Hjartnes.

A. well, the -- if you start from the
recruitment process, we -- we would ask the manning
agent to -- or we would tell the manning agent the

requirements we have for hiring, how many people we
need from each category.

They would then do the prescreening for us,
including interview, background check. we would then
send somebody to the Philippines to interview them
and select those candidates who are eligible to be
hired.

The next step would be they would go
through a medical exam. And of course all the other
documentation, including seaman's book, basic --
basic safety training, passport, visa, and all those
requirements.

Providing they past all the medical
background check, visa requirements, training, we
would then initiate the -- the hiring -- the
documentation of them.

Q. All right. And how would that work?

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MR. HUGGETT: Objection to the form.

THE WITNESS: We would issue -- the
candidate would come into the office, to the
manning agent's office, where they would sign
their contract of -- that we have here.

BY MR. MASE:

Q. You're thumbing through the document which
Mr. Huggett marked earlier on in the deposition as an
exhibit, as Exhibit A -- well, no, I'm sorry,
Exhibit 1 to your deposition?

A. That's correct.

Q. Okay. You said they'd execute the
contract?

A. Yes.

Q. And then what?

A. That would then go to the POEA for
approval. which, by the way, 1s not an automatic
approval from POEA. They do their own background
check/investigation of these people, and if
everything checked out, they would then stamp it and
approve it.

Q. Do you know anything about how the POEA
came about, how it came into existence or why?

MR. HUGGETT: Object to the form.

MR. MASE: You can answer.

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THE WITNESS: Okay. Yes, I do. And in
their charter, the first -- their first
guideline or their first paragraph of their
mission, in their mission statement is to

protect Filipino seafarers, protect their human
rights and to give them the best possible terms
and conditions and equal opportunity and
employment overseas.

And it was actually -- I think it was found
in 1980 -- was it 1982 or ‘84?

BY MR. MASE:

Q. Mr. Huggett asked you some questions about

whether or not if you thought that if NCL had to

abide by the POEA, the dollar limits and so forth in
the POEA, whether or not that would work out as kind
of a windfall or a benefit to NCL as compared to
U.S. law. Remember those questions?

A. yes, I do.

Q. Let me ask you this: Do you have any idea
whether or not a Filipino seaman who gets injured in
Croatia has the right to recover anything under
Croatian law?

A. No, I don't.

Q. Okay. Do you have any idea whether or not

a Filipino seaman who gets injured in Singapore has a

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right to recover anything under the Singapore system?

A. No, I don't.

Q. Do you have any idea whether or not a
Filipino seaman who gets injured in India has the
right to recover under their system?

A. No, I don't.

Q. Let me ask you this, then: wouldn't it be
equally fair in relation to his
700-odd-thousand-dollar compilation question to say
that while in relation to the u.S., the recovery
under the Philippine law and under the POEA might be
less in relation to other countries, it might be a
whole lot more?

MR. HUGGETT: Objection to the form.
THE WITNESS: I -- it would appear to be
speculation on my part.
MR. MASE: Okay. well, I don't want you to
speculate.
BY MR. MASE:

Q. You -- would you agree with me that if
there are countries where no recovery is allowed,
that if an employer hires through the POEA, and
agrees to be bound by the POEA terms, that the
employee would get more than in that country where

nothing was allowed?

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MR. HUGGETT: Objection --
THE WITNESS: Clearly.
MR. HUGGETT: -- to the form. You can't
have POEA in a country that doesn't have it.
BY MR. MASE:
Q. Isn't that true?
A. Clearly, in essence, that was one of the

reasons why POEA was created, to protect the Filipino
overseas; not only seafarers, overseas workers.

Q. Mr. Huggett asked you some questions
yesterday, showing you Exhibit 1, about the dates on
this document that's signed here by crew member Abdi
Comedia, and he pointed out to you that the type was
the 10th day of March, 2003, and that appears to be
the date when Lope --

A. Parragatos.

Q. -- Parragatos signed and Abdi Comedia
signed. And then I think he also pointed out there's
another date down below verified by the POEA, and
that was some two weeks later, on March 25th.

Can you explain to us what you think may
account for the difference?
MR. HUGGETT: Objection to the form. He
already said he didn't know. Is he suddenly

going to know all these things just because you

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asked him?

THE WITNESS: That was not my testimony
yesterday. You asked me about this part, and
that I still don't know.

But this would be normal because the
contract iS executed at the manning agent's
office. It's then sent to the POEA for
approval. That could take -- it could take
three days, it could take ten days.

BY MR. MASE:

Q. Okay.

A. And this is -- this is quite normal. It's
nothing abnormal about that. And we discussed that
yesterday. what I still don't know is the -- when
the other one was signed.

Q. Now, Mr. Huggett showed you and marked an
exhibit to this deposition, a case.

MR. MASE: Could I see that exhibit,
please?

MR. HUGGETT: which one you want?

MR. MASE: I think it's Exhibit 3, the
case, Tolosa.

THE COURT REPORTER: You have it.

MR. MASE: Not anymore. I think

Mr. Huggett took it back. He's got it. It's

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right there.

MR. HUGGETT: There you go.
BY MR. MASE:

Q. Now, you remember he showed you this case
here?

A. Yes.

Q. All right. Now, I don't profess to

understand Philippine law, but I want to ask you some
questions and see you if you know any of this,
because he was asking you about it.

Do you Know whether or not moral damages
are available under the POEA? If you know, fine, and

if you don't --

A. No, I don't know the details of what's
available.
Q. Okay. Do you know whether exemplary

damages available under the POEA?

A. No, I do not.

Q. Do you know whether attorney's fees are
available under the POEA?

A. No, I do not.

Q. Do you know whether interest on a personal
injury award is available under the POEA?

A. No, I do not.

Q. Now, Mr. Huggett was asking you some

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questions, a number questions about NCL being a
foreign company and flying Bahamian flags, and so
forth. You remember those questions?

A. Yes.

Q. Has NCL recently set up a separate company
known as NCL America?

A. Yes.

Q. Is that company going to -- strike that.

Is that company in the process of building
and refitting ships which will fly American flags?
A. Yes.
Q. will that company employ Americans as crew
members on its ship?
A. Yes.
Q. Has -- has a separate division been set up
to employ the Americans on those ships?
A. Yes.
Q. what's the name of the first u.S. flagged
cruise ship that NCL America is going to deploy?
A. PRIDE OF AMERICA.
THE COURT REPORTER: I'm sorry?
THE WITNESS: PRIDE OF AMERICA. PRIDE OF
AMERICA
MR. HUGGETT: Is all] this in the future?

MR. MASE: Actually this is all in the

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present.
BY MR. MASE:

Q. Mr. Hjartnes, you were asked questions
about the positions that Filipinos occupy onboard the
ship by Mr. Huggett.

After an incident several years ago, did

NCL adopt a policy of having two watchkeepers on the
bridge, officers of the watch at all times?

A. Yes.

Q. what nationality are those watchkeepers?

A. A lot of them are Filipinos.

Q. Okay. I'm sure they vary. By the way, how
many nationalities do you have onboard the ships?

And within the crew, I guess I should Say.

A. The latest count I saw was 80 -- 88.

Q. 88?

A. I think it was 88.

Q. Do you consider the position of officer,
watch officer on the bridge -- well, let me ask you,
the watch officer on the bridge, is he responsible
for making sure the ship stays out of the trouble and
out of harm's way?

A. Yes.

Q. Is that a striped officer position?

A. Yes, it is.

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Q. How many stripes?
A. It could be one or two; one, two or
three --
Q. Okay.
A. -~- depending on the position.
Q. Is that what you would characterize as a

Significant position, a senior position on the ship,
particularly if it's three stripe?

A. Yes.

Q. Mr. Huggett asked you about NCL'S
conviction, and I want to ask you some questions
about that.

The facts from which that arose came to
light in January -- the time frame between January
and May of 2000; is that right?

MR. HUGGETT: well, let me object. He said
he didn't have any idea that they were
convicted --

MR. MASE: Do you Know?

MR. HUGGETT: -- so how's he going to have
any idea of all these other things?

MR. MASE: I don't -- that's not what he
said, Mr. Huggett.

MR. HUGGETT: Sure, he did.

THE WITNESS: I don't recall.

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MR. MASE: All right. Fair enough.
BY MR. MASE:
Q. Do you recall that NCL entered into a plea
deal with the United States Government after a

voluntarily disclosure that it believed environmental
violations may have occurred?

A. yes. That, I remember.

MR. HUGGETT: Object to form.
BY MR. MASE:

Q. Do you remember that the federal judge who
took the plea, Judge Joan Leonard, commended NCL
extensively. The Herald reported upon it, and she
referred NCL as a model corporate citizen, and the
plea deal and the voluntarily disclosure as a model
of corporate responsibility.

MR. HUGGETT: Objection to form.
BY MR. MASE:
Q. Did you read that? Do you remember that?
MR. HUGGETT: Object to the form.
THE WITNESS: I may have read it. I'm sure
I read it, but I don't remember the details of
it.
BY MR. MASE:
Q. All right. In describing -- strike that.

In answering the various areas of inquiry

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in this notice of deposition, and Mr. Huggett asked
you yesterday a number of times, are you the person
with the most knowledge of this, and you said I think
so. And then you would go on in many cases to say
you just didn't know certain things.

Is there anyone else in NCL, that you know,
who has any greater knowledge of the tiems that are
specified by Mr. Huggett in the notice of deposition?
Do you know anybody else who would be any better?

A. No, I don't.

Q. Okay. Is the fact that this is a
governmentally-imposed system, is that why NCL
doesn't have someone who completely and totally,
thoroughly understands all the ins and outs of it?

MR. HUGGETT: Object to the form.

BY MR. MASE:

Q. Is that why? Strike that.

Do you know why NCL doesn't have someone
who has a complete, intimate, total understanding of
all the ins and outs of the POEA?

MR. HUGGETT: Object to the form.

THE WITNESS: well, like I said many times

yesterday, POEA is a -- it's a Filipino

government administration. It's a -- it's a

government office that we have no

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representation, we have no input, we have no
influence on them.

They implement the laws, and in order for
us to be accredited as a foreign principal, we
have agreed to abide by their rulings.

BY MR. MASE:
Q. And you've also testified that you get much

of your information from the manning agents?

A. Yes.

Q. Are those regulated in the Philippines?

A. Very much so.

Q. In order for a manning agent to be able to

work with the POEA, does he have he or she or
it -- I guess they're businesses -- have to be

accredited by the POEA?

A. Yes.

Q. The same way you have to be accredited?

A. Even more stringent than our accreditation.
Q. And I know you testified earlier that you

largely rely upon the manning agents to give you
information about the POEA. In your experience, are
the manning agents reliable sources of that
information?

A. Yes, absolutely.

Q. Have you had any problems or experiences

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which suggested unreliability?
A. Not that I -- not that I can recall, no.
Q. Plaintiff's Exhibit A -- I'm sorry, I keep
saying A because it has an Exhibit A sticker.
Plaintiff's Exhibit No. 1 to your
deposition, the contract of employment with the
attached Department Order No. 4, Memorandum Circular
Number 9, and the Terms and Conditions, all of these
documents taken together are the exhibit.
Do Filipino seamen who sign up through the
POEA and get a contract, employment with NCL, get
these documents?
A. Yes, they do.
MR. HUGGETT: Objection to form.
BY MR. MASE:
Q. Describe the process --
MR. HUGGETT: He already testified that he
didn't know.
BY MR. MASE:
Q. Describe the process and when they get the
documents.
MR. HUGGETT: Objection to the form.
THE WITNESS: They get a copy of all these,
as I testified to yesterday, prior departing the

Philippines. Exactly at which point in time

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they get them, I don't know, but it would be
after they have been approved by the POEA.

BY MR. MASE:
Q. So when, in relation to the crew member
signing that, does he get a copy?
MR. HUGGETT: Objection to the form. He
already testified he didn't know.
MR. MASE: You can answer.

THE WITNESS: After it's been assigned and
approved by the POEA.
BY MR. MASE:

Q. Okay. You said that you have been to --
you mentioned two meetings yesterday, you talked
about. One was like an orientation meeting, and then
I think one was a predeparture conference or
something like that. I forgot the terminology.

A. Predeparture orientation.

THE COURT REPORTER: I'm sorry?
THE WITNESS: Predeparture orientation.

BY MR. MASE:

Q. Okay. But there were two separate things,
right?

A. yes.

Q. You said you've never been to either of

them yourself, you just observe them from the

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outside?
A. Yes.
MR. HUGGETT: One of them.
MR. MASE: One of them.
MR. HUGGETT: Objection to form.
MR. MASE: All right.
BY MR. MASE:
Q. In the affidavit in which Happy submitted,

and which Mr. Huggett referred to, there were various
paragraphs which discussed the provision of the POEA
documentation and a review of its terms with the
seamen. I think you were directed to those by

Mr. Huggett?

A. Yes.

Q. If I understood your testimony, you've
never personally witnessed that; is that right?

A. The predeparture orientation?

Q. well, Jet me ask you: Have you ever
witnessed where crew members who were coming to work
for NCL, or another cruise line, where it's -- the
POEA terms are reviewed with them?

MR. HUGGETT: He testified that he had not.
THE WITNESS: No, I have not. I have seen
it take place, but I have not participated in

it --

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BY MR. MASE:
Q. So you haven't actually --
MR. MASE: Sure.
(Thereupon, a brief recess was taken, after
which the following proceedings were had:)
BY MR. MASE:
Q. In the manning agencies that you've been
in, do they have any signs about the POEA.
A. Yes.
Q. Do they hide all the information about the
POEA from the seamen so that they don't know anything
about it?
MR. HUGGETT: Object to the form. He don't
know.
BY MR. MASE:
Q. You ever been there, to the Philippines?
A. Many times.
Q. You ever been in the manning agencies?
A Many times.
Q. Was it your observation that the manning
agencies hid all of this information --
MR. HUGGETT: Object to the form.
BY MR. MASE:
Q. -- and concealed it from the seamen?
MR. HUGGETT: Object to form. He said he'd
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never seen one preorientation.
MR. MASE: Mr. Huggett, please don't
continue to make speaking objections or I will
put --
MR. HUGGETT: Don't lead mislead the
witness.
MR. MASE: Mr. Huggett, please do not make
speaking objections in violation of Federal
Civil Procedure, or I will ask the Judge --
MR. HUGGETT: You may ask him whatever --
ask her whatever you wish. Please don't lead
the witness into misstatements.
MR. MASE: Okay. 1I'11 rephrase it.
THE WITNESS: Okay. But you're talking
about two totally different things.
BY MR. MASE:

Q. Here's what I want to know: From
Mr. Huggett's questions, one could get the impression
that there was a suggestion that the POEA is not
known about by the seamen, that they don't really get
any awareness of its term, et cetera. Is that the
case?

A. NO.

MR. HUGGETT: Object to the form.

MR. MASE: Okay.

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THE WITNESS: Not at all.
BY MR. MASE:
Q. Are the seamen who are applying to work at
these manning agencies made aware of the POEA?
A. Absolutely.
MR. HUGGETT: Object to the form.
BY MR. MASE:
Q. Are they made aware of its terms?
A. Absolutely.
MR. HUGGETT: Object to the form.
BY MR. MASE:
Q. Are there signs that talk about the POEA,
articles in the newspapers, that kind of thing.
MR. HUGGETT: Object to the form.

THE WITNESS: All over the manning agencies
they have, from posters to newSpapers, clippings
to signs.

BY MR. MASE:

Q. You ever --

A. SO --

Q. You ever read the paper in Manila?
A Do I?

Q. Yeah.

A. Yes, every time I'm there.

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Ever see anything referencing the POEA when

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you were there in the Philippines?
MR. HUGGETT: Object to the form.
THE WITNESS: Every day.
BY MR. MASE:
Q. Is the POEA something which is a source of

pride to Filipinos?
MR. HUGGETT: Object to the form.
THE WITNESS: Yes.

BY MR. MASE:

Q. why?

A. Because it's -- it's probably the only
country, at least in Asia, that has a proper system
to protect their overseas workers.

Q. Now, does the POEA only cover seamen?

MR. HUGGETT: Object to the form.
THE WITNESS: No.
BY MR. MASE:

Q. so, for example, if there's a Filipino
nurse working here at Doctors Hospital in Coral
Gables, to your understanding would she be covered by
the POEA?

A. She could be covered under POEA or the OWA.

THE COURT REPORTER: I'm sorry?
THE WITNESS: OWA.

BY MR. MASE:

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Q. What's that?

A. Overseas --

Q. workers?

A. -- worker's Administration.

Q. Okay.

A which is also part of the Department of
Labor.

Q. So, in other words, the POEA isn't

something that was setup by, say, the shipowners just
to stick it to the Philippine workers?

MR. HUGGETT: Objection to the form.

THE WITNESS: No.
BY MR. MASE:

Q. Okay. Now, Mr. Huggett also asked you a
lot of questions about the negotiation process with
respect to the grievance procedure provision and the
arbitration provision in here. Remember those
questions?

A. Yes.

Q. Okay. when a Filipino seaman applies to a
manning agency to come to work for NCL, can he ask to
see a copy of the contracts or documents that he's
going to be asked to sign if he decides to proceed
with the job before he gets the job?

MR. HUGGETT: Objection to the form.

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BY MR. MASE:
Q. Is there anything to prevent him from
asking that question?
MR. HUGGETT: Object to the form.
THE WITNESS: NO.
BY MR. MASE:
Q. If a Filipino seaman applicant asks for a

set of those documents, and said I want to have these
reviewed by my lawyer before I decide whether I'm
going to apply, just hypothetically speaking, would
that impact NCL's decision to hire him, based upon
what you know as the human resources director?

MR. HUGGETT: Object to the form.

THE WITNESS: Hypothetically, no,

absolutely not. we --

BY MR. MASE:

Q. I mean would -- would you refuse to hire
somebody just because they wanted to have the lawyer
looks at the documents?

THE WITNESS: No.
MR. HUGGETT: Object to the form.
BY MR. MASE:

Q. Okay. And if a Filipino read the

documents, or had his lawyer read them, and decided,

you know, I don't want to be bound by these, or I

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don't like these terms, would he or she be free not
to take employment?

MR. HUGGETT: Object to the form.

THE WITNESS: Yes.
BY MR. MASE:

Q. would that be true even after they had
signed the documents, if they came back to you
afterwards and said, you know, I looked at this and
I'm not comfortable, I think I don't want to take
this?

MR. HUGGETT: Object to the form.

THE WITNESS: Yes, documents can be
withdrawn from the POEA after the day they're
departing.

BY MR. MASE:

Q. Okay. Mr. Huggett asked you some questions
about -- I'm not entirely sure why he asked, but he
asked you some questions about NCL's -- I guess I'1]

call it enforcing of the POEA in court, why NCL had
done this, why had it done that. He rattled off a
number of cases to you. Remember that yesterday?

A. Yes.

Q. Are you aware that Amon, A-M-O-N, versus
NCL case, NCL within the last year or so successfully

enforced the POEA with Judge Paul Huck entering an

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order to that effect?

MR. HUGGETT: Object to the form.

THE WITNESS: I don't have any -- any
personal knowledge of it, but I've -- I'm aware
of it, yes.

BY MR. MASE:

Q. Okay. Do you have any idea whether or not
law in the Florida state courts on POEA is any
different in the federal courts; do you know that?

A. I have --

MR. HUGGETT: Object to the form.

THE WITNESS: I have no idea.

BY MR. MASE:
Q. So then you wouldn't know whether or not

that has any bearing on why NCL may or may not have
been seeking enforcement?
MR. HUGGETT: Object to the form.
THE WITNESS: I have no idea.
BY MR. MASE:
Q. Similarly I assume you don't know anything
about current legal trends in federal courts?
A. No, I don't.
MR. HUGGETT: Object to the form.
BY MR. MASE:

Q. Or why NCL might or might not be enforcing

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in federal court?
MR. HUGGETT: Object to the form.
THE WITNESS: No, I don't.
BY MR. MASE:
Q. Does NCL have any representatives, members,
any representation at all in the POEA today?
A. No, we don't.
Q. Anybody on its Board or anything like that?
THE COURT REPORTER: I'm sorry?
MR. HUGGETT: Object to the form.

MR. MASE: Anybody on its Board or anything
like that?
THE WITNESS: No.

BY MR. MASE:

Q. Does NCL pay any money to the POEA
directly?

A. No.

Q. Does it get any money from the POEA, like

every time it hires a crew member?
A. No.
Q. Does NCL even participate at all in what
the POEA does?
MR. HUGGETT: Object to the form.
THE WITNESS: Not at all.

BY MR. MASE:

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Q. If NCL doesn't like something the POEA
does, does it have a way to tell them?
MR. HUGGETT: Object to the form.
THE WITNESS: No.

MR. HUGGETT: Object to the form.

THE WITNESS: It's a government commission..-

we don't have any -- any input in their
business.

BY MR. MASE:

Q. If you don't want to use the POEA contract,

with a Filipino seaman, are you free to change the

terms?
A. No.
Q. In contracts with non-Filipino seamen,

NCL's standard contract of employment, does it
specifically state in the contract that the seamen
are members of the union?
MR. HUGGETT: Object to the form.
THE WITNESS: I would have to see the
contract to answer that question.
BY MR. MASE:
Q. Okay. Do you remember whether or not in
the standard contract of employment for non-Filipino
seamen there's reference to the seamen being members

of the Norwegian Seaman's Union?

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MR. HUGGETT: Objection to form.
THE WITNESS: Again, I would have to see
the contract.
BY MR. MASE:
Q. Okay. The agreement to arbitrate is

contained within the terms and conditions which are
part of the contract per the POEA, correct?

MR. HUGGETT: Object to the form.

THE WITNESS: Yes.
BY MR. MASE:

Q. And that's something that the POEA
requires?

MR. HUGGETT: Object to the form.
THE WITNESS: Yes.
BY MR. MASE:

Q. And the seamen are required to sign the
contract with the terms of employment at the time
they take employment, right?

MR. HUGGETT: Object to the form.
THE WITNESS: If they want to work
overseas, yes.
BY MR. MASE:

Q. And they're free, of course, not to work

overseas, right?

A. Of course.

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Q. Stay in their home country and do whatever
else they may want to do.
A. Yes.
Q. Does NCL force any of the Filipino workers
THE COURT REPORTER: I'm Sorry.
MR. MASE: I'm sorry.
BY MR. MASE:
Q. Does NCL force any of the Filipino seamen

who come to work on its ships to take employment with
them?
MR. HUGGETT: Objection to the form.
THE WITNESS: No.
BY MR. MASE:
Q. Are all the Filipinos who work for NCL
voluntarily employed of their own choosing?
MR. HUGGETT: Object to the form.
THE WITNESS: I would certainly hope so and
think so.
MR. MASE: Okay.
THE WITNESS: I haven't heard of anybody
else.
BY MR. MASE:
Q. Can they quit if they don't like it?

A. Yes, they can.

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MR. HUGGETT: Objection to form.

BY MR. MASE:

Q. Can they quit if they don't like the
arbitration laws?

A. yes.

Q. Can they quit if they don't like what the
POEA benefits limit them to or provide them with?

A. Yes.

MR. HUGGETT: Object to the form.

MR. MASE: I'm just going to quickly skim
through some notes I've got and see if there's
anything else here. Just bear with me,

Mr. Hjartnes. I'm sorry.
BY MR. MASE:

Q. How long has the POEA been around, as far
as you know?

MR. HUGGETT: Object to the form.

THE WITNESS: POEA?

BY MR. MASE:

Q. Uh-huh.

A. I think I probably testified since 19 --
1982 or 1984. I can't remember exactly.

Q. were there some changes made -- strike
that.

MR. MASE: Thank you, Mr. Hjartnes. That's

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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all I have.
REDIRECT EXAMINATION
BY MR. HUGGETT:
Q. Mr. Hjartnes, you were just asked a series

of questions about the options of the seamen to quit.
Remember those?

A. Yes.

Q. what you're saying is, insofar as
employment with NCL for a Filipino, it's take it or

leave it, the whole package, isn't it?

A. In accordance with Filipino law, yes.
Q. He has no negotiation ability as to one
period or one iota of his -- any of the contracts at

all, does he?

A. As per Filipino law.

Q. The answer "yes"?

A. Yes.

Q. He either accepts or rejects?

A Yes.

Q. And if he rejects, he goes back to the back

of the line at the manning agency, doesn't he?
MR. HUGGETT: Objection, form.
THE WITNESS: I have no idea.

BY MR. MASE:

Q. You know all the other things, but you

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don't know that one, right, about the POEA?

A. Are you asking about the manning agent or
POEA?

MR. MASE: There's no question pending.

There's just a statement by Mr. Huggett.
BY MR. HUGGETT:

Q. Did you make the statement that NCL doesn't

or don't have any input in the business of the POEA?

A. That's correct.

Q. And they don't have any input in the
business of technical -- Tripartite Technical working
Group?

A. That's correct.

Q. Let me ask you if Mr. Del Rosario, the

attorney for NCL that's filed an affidavit, and who
represents the insurance companies, stated under oath
that the Tripartite Technical working Group,
consisting of groups from three factors, namely,

POEA -- and the government, the group of manning
agencies representing the employers, and et cetera,
to insure the right and interests of both shipowners

and seafarers are protected. Is he right or wrong?

A. I can't testify to his --
Q. But according to you?
A. -- opinion.

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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MR. MASE: Wait, wait, wait. Let him
finish his --
MR. HUGGETT: Are you done?
MR. MASE: -- answer, Mr. Huggett.
THE WITNESS: No, I was not done.
MR. HUGGETT: Finish.
THE WITNESS: I can't testify to his
opinion on things.
BY MR. HUGGETT:
Q. Okay. He is a Filipino lawyer, right?
A. Yes.
Q. He is there and saying that he's a member

of that group, right?

A. I don't know what he's saying.

Q. well, if he says -- will you accept my
statement that he says he's a member of that group?

A. Yes.

Q. Okay. And if he says that he's a member of
that group, and the manning agencies who represented
the employers, which includes the shipowners, then

that's contrary to what you testified, correct?

A. Yes.
Q. And he would be, to your knowledge, dead
wrong?

MR. MASE: Objection to the form of the

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question.
THE WITNESS: I can't speak to his --

BY MR. HUGGETT:

Q. The statement of his --

A. -- testimony.

Q. -- that I'm asking -- you can read it, if
you want --

A. Yeah.

Q. -- that the manning agencies who represent

the employers, meaning shipowners in the Tripartite
Technical working Group is in error according to you?
MR. MASE: Objection to the form of the
question.
THE WITNESS: I didn't say that.
MR. MASE: Misrepresenting --
BY MR. HUGGETT:
Q. Is it true?
MR. MASE: MiSrepresenting prior testimony,
and I object.

BY MR. HUGGETT:

Q. Is that statement true?

A. I don't know.

Q. Okay. But according to you, you are not
represented in any way on the -- NCL, on the

Tripartite Technical working Group.

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A. That's correct.

Q. And NCL, as a ship owner, has no one
representing them on the Tripartite Technical Working
Group?

A. That's correct.

Q. So when he says that the technical
Tripartite is represented by the manning -- the
employers and shipowners represented by the manning
agencies, that's not your understanding?

A. My understanding is that NCL is not
represented on the Tripartite working Group.

Q. Now, Mr. Mase asked you a number of
questions about the POEA process of who gets what
documents. You have no personal knowledge or
evidence of what these ten seamen got or didn't get
other than seeing the papers we have in front of us,
do you?

A. That's correct.

MR. MASE: Objection to form.
THE WITNESS: That's correct.
BY MR. HUGGETT:

Q. And regardless of whether they're watchmen
or how many stripes they have, you still only have
one Filipino that's considered a first officer and

above in the entire fleet, correct?

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KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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A. Yes. These are all licensed positions that
require certain licenses.

THE COURT REPORTER: They're all?
THE WITNESS: They're all licensed
positions that require certain licenses.
BY MR. HUGGETT:

Q. Now, this NCL America, there 1S no cruise
ship owned by NCL or NCL America that flies an
America flag at this time, is there?

A. I don't know if they're flying the flag yet
or not. It's being built in Germany as we speak.

Q. It's not in existence and working now, is
it?

A. No. It's not operating now.

Q. Okay.

MR. MASE: It's in existence, Mr. Huggett.
MR. HUGGETT: Kind of like Galliano's was
in existence.
BY MR. HUGGETT:
Q. And all of those line of questions about

NCL are plans for the future; is that correct?

A. well, some are plans. They're developing
plans.

Q. Developing, okay.

A. Now, some of it is in existence already.

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The NCL America is an incorporated --
Q. The corporation exists, but the operations
of running a ship with any Americans don't exist yet,

flying an American flag?

A. That's correct.
Q. Okay. Now, you testified for Mr. Mase that
the POEA had negotiated the -- I think your terms

were the best possible terms for the Filipinos; is
that what you said?

A. I don't recall exactly what I said.

Q. words to that effect. Do you remember
those questions?

A. yes, one -- that's there -- they're in
their charter, they try to protect the Filipino
overseas workers to guarantee them their human
rights, their -- the equal opportunity to work and to
negotiate the best terms and conditions for them.

Q. Do you think that the NCL needs the POEA to
guarantee the equal rights of Filipinos or do you do
that automatically?

A. No. And they were certainly not created
for NCL employees.

Q. But what is the effect is that if all of
these seamen have to bring their injury claims in

front of the POEA, they'll be losing millions of

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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dollars, won't they

A. I don't know they.

MR. MASE: Objection.

BY MR. HUGGETT:

Q. And that's what the POEA, in the words of
Mr. Del Rosario, has negotiated with the manning
agencies representing the employers, correct?

A. Is there a question?

Q. Yeah.

A. I -- I don't agree with his statement.

Q. Okay.

A He has to answer for his statement.

Q. Okay.

A And I'11 answer for mine.

Q. Okay. And as -- as to the Filipino union
AMOSUP, you still have no Knowledge or no evidence

that any of these seamen had ever even heard of it?
A. Do I have it physically, no. I can
certainly get it.
Q. That these ten seamen involved here knew

about it and heard of AMOSUP?

THE COURT REPORTER: I'm sorry.
THE WITNESS: I'm speaking for the five

deck and engine people.

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A. I'm speaking for the deck and engine room.

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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BY MR. HUGGETT:
Q. You have none, and in the two days today
that you've been here.
A. No.
MR. HUGGETT: Okay. Thank you.
Another round or you going to quit?
MR. MASE: 1I'11 ask one more series of
questions just for fun.
RECROSS-EXAMINATION
BY MR. MASE:
Q. Does NCL America exist today?
A. Yes.
Q. who's the managing director?

THE COURT REPORTER: who 18s?

MR. MASE: The managing director.

THE WITNESS: To my knowledge, it's Robert
Kritzman.

BY MR. MASE:

Q. where is it based?
A. Honolulu.
Q. Is NCL America currently building ships

that will be flagged with American flags?
A. They're building one, and we're going to
reflag one next year.

Q. And then there are plans for two more after

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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that?

A. That's my understanding, yes.

Q. So when we talk about that being something
in the future, it's really something that's in the
process now, correct?

A. Yes.

Q. Does NCL America currently employ other
American workers?

A. Yes.

MR. HUGGETT: On land or sea?
MR. MASE: Currently on land.
THE WITNESS: Both, actually.
BY MR. MASE:
Q. And is NCL currently in the process of

hiring American crew members to sail on its vessels
in early 2004?
A. we actually already have at least four

officers sailing in our Bahamas fleet.

Q. And they're American?
A. Yes.
Q. And they're being trained to sail on the

America-flagged vessels?
A. That's correct.
MR. MASE: That's all I have.

MR. HUGGETT: More business.

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THE WITNESS: we had a Staff Captain join
the NORWEGIAN DAWN on --

THE COURT REPORTER: The NORWEGIAN?

MR. MASE: DAWN.

THE WITNESS: DAWN.

MR. HUGGETT: Okay.

THE WITNESS: D-A-W-N.

MR. HUGGETT: Enough.

MR. MASE: I agree. I think it's enough.

MR. HUGGETT: Now, make sure you have all
these attached, okay.

THE VIDEOGRAPHER: we'll go off the video
record.

MR. HUGGETT: Yeah.

THE VIDEOGRAPHER: Standby. One moment.

(Thereupon, the deposition was concluded at

4:28 p.m.)

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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8 WITNESS

10 SWORN TO AND SUBSCRIBED BEFORE ME THIS
DAY OF », 2003.

13 Notary Public-State of Florida
My Commission No.
14 Expires:

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404
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1 CERTIFICATE OF OATH

5 | STATE OF FLORIDA)
6 : SS

7 | COUNTY OF DADE)

9 I, the undersigned authority, certify
10 | that KJELL HJARTNES personally appeared before me and

11 | was duly sworn.

13 WITNES nd and official seal this

14 X : day of , 2003.

y Reyna
Stary Public-State of Florida
My Commission No. D0D185951
19 Expires: May 29, 2007

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404
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1 REPORTER'S DEPOSITION CERTIFICATE
2
3
4 | STATE OF FLORIDA)
5 : SS
6 | COUNTY OF DADE)
7
8 I, JAN E. REYNA, a Registered Professional

9 | Reporter, certify that I was authorized to and did
10 | stenographically report the deposition of
11 | KJELL HIJARTNES; and that the transcript is a true

12 | record of my stenographic notes.

14 I further certify that I am not a relative,
15 | employee, attorney, or counsel of any of the

16 | parties’, nor am I a relative or employee of any of
17 | the parties’ attorney or counsel connected with the
18 | action, nor am I financially interested in the

19 |} action.

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negi Stered Professional Reporter

KLEIN, BURY, REIF & APPLEBAUM (305) 373-8404

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA.

MIAMI DIVISION
RIZALYN BAUTISTA, etc., et al. CASE NO.: 03-21642- ne SEITZ/BANDSTRA
PAUL PERALTA, "CASE NO.: 03-2 1@48-CIV TZ/BANDSTRA
RAYMOND LOVINO, CASE NO.: 03-21644-CIV-SELEZ/BANDSTRA
RONALDO MARCELINO, CASE NO.; 08-216455CIV-SEITZ/BANDSTRA
ROLANDO TEJERO, CASE NO.: 03~21646-CI¥-SEITZ/BANDSTRA
ABDI COMEDIA, CASE NO.: 03-21647-CIV-SEIFZ/BANDSTRA
CRISTINA L. VALENZUELA, etc, etal. CASE NO: 03-21648-CIV-SEITZ/BANDSTRA
MARILEN §. BERNAL, etc.,etal . . | CASE. NO.: 08-21649-CIV-SEITZ/BANDSTRA
WILLY I. VILLANUEVA, etc., et al. CASE NO.: 03-21650-CIV-SEITZ/BANDSTRA

MARIA GRACIA L. ROSAL, etc., et al CASE NO.: 03-2165 1-CIV-SEITZ/BANDSTRA

Plaintiffs,
v.

NORWEGIAN CRUISE LINE, LTD.
and STAR CRUISES,

Defendants. 2,

PLAINTIFF'S RE-NOTICE OF RULE 30(b)(6) VIDEO-DEPOSITION

Plaintiffs in the above-captioned matter request Defendant Norwegian Cruise Line, Ltd. to
designate a representative(s) to testify with respect to the matters specified below, pursuant to Fed.
R. Civ, P. $0(b)(6). Defendant Norwegian Cruise Line, Ltd. is specifically notified, pursuant to Fed.
R, Civ. P. $0(b)(6), of its duty and obligation to make the requested designation of the

representative(s) to testify on said Defendant's behalf.

DATE: Thursday, September 11, 2003.

TIME: 09:30 a.m.

LOCATION: Kozyak Tropin & Throckmorton, P.A.
Wachovia Financial Center, Suite 2800
200 South Biscayne Boulevard

Miami, Florida $3131

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA.

MIAMI DIVISION
RIZALYN BAUTISTA, etc., et al. CASE NO.: 03-21642 “én SE1TZ/BANDSTRA
PAUL PERALTA, CASE NO.: 03-21448-CIV-SEITZ/BANDSTRA
RAYMOND LOVINO, CASE NO.: 03-21644-CIV-SELEZ/BANDSTRA
RONALDO MARCELINO, CASE NO.: 03-916453CIV-SEITZ/BANDSTRA
ROLANDO TEJERO, CASE NO.: 03-21646-CFY-SEITZ STRA
ABDI COMEDIA, CASE NO.; 08-21647-CIV-SEFPZ/BANDSTRA
CRISTINA L. VALENZUELA, etc, etal. CASENO.: 09-21648-CIV-SEYTZ/BANDSTRA
MARILEN S. BERNAL, etc.,etal . CASE NO.: 05-21649-CIV-SEITZ/BANDSTRA
WILLY I. VILLANUEVA, etc., et al. CASE NO.: 08-21660-CIV-SEITZ/BANDSTRA

MARIA GRACIA L. ROSAL, etc., et al. CASE NO.: 03-21651-CIV-SEITZ/BANDSTRA

Plaintiffs,
v.

NORWEGIAN CRUISE LINE, LTD.
and STAR CRUISES,

Defendants. . oo

PLAINTIFF'S RE-NOTICE OF RULE 30(b)(6) VIDEO-DEPOSITION

Plaintiffs in the above-captioned matter request Defendant Norwegian Cruise Line, Ltd. to
designate a representative(s) to testify with respect to the matters specified below, pursuant to Fed.
R. Civ. P. $0(b)(6). Defendant Norwegian Cruise Line, Ltd. is specifically notified, pursuant to Fed.
R, Civ. P. 30(b)(6), of its duty and obligation to make the requested designation of the

representative(s) to testify on said Defendant's behalf.

DATE: Thursday, September 11, 2003.

TIME: 09:30 a.m.

LOCATION: Kozyak Tropin & Throckmorton, P.A.
Wachovia Financial Center, Suite 2800
200 South Biscayne Boulevard

Miami, Florida $3131

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Plaintiffs will examine the designated representative(s) with most knowledge regarding the
following matters presently placed in issue by Defendant's removal of these actions to federal court
and by Defendant’s motions to compel arbitration filed in each case:

1. As to each injured or deceased seaman whose claims are brought
by Plaintiffs herein (“the subject seamen”):

(a) the dates and locations the agreement to arbitrate upon
which Defendant relies was negotiated; and

(b) the participants in the negotiations.

2, The unions of which Defendants contend the subject seamen were
members, including the dates the seamen joined the unions and
any documents they signed reflecting their intent to join a union.

3. The Tripartite Working Group Defendant contends prepared the
document containing the agreement to arbitrate upon which
Defendants relied in removing these cases to federal court and

- moving to compel arbitration.

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4. The persons or entities who represented Defendant Norwegian
Cruise Lines or its interests either in the Tripartite Working
Group or in drafting the document containing the agreement to
arbitrate upon which Defendants relied in removing these cases to
federal court and moving to compel arbitration.

5. Whether any individual Philippine seafarer has ever been allowed
to negotiate the terms of his contract of employment with
Defendant Norwegian Cruise Lines, whether directly or through

its manning agencies;

6. Whether any individual Philippine seafarer, including the subject
seafarers, has ever been allowed to negotiate the agreement to
arbitrate upon which Defendants relied in removing these cases to
federal court and moving to compel arbitration.

7. Whether any individual Philippine seafarer, including the subject
seafarers, has ever been allowed to eliminate from his contract of
employment the agreement to arbitrate upon which Defendants
relied in removing these cases to federal court and moving to

compel arbitration.

8. The names and addresses of any union representatives the
Defendants claim represented the subject seafarers in negotiating
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the agreement to arbitrate that the Defendants presently seek to
enforce against the subject seafarers,

9. The names and addresses of any POEA representatives who
participated in negotiating the agreements to arbitrate that the
Defendants presently seek to enforce against the subject seafarers.

10. The circumstances under which the subject seafarers entered into
contracts of employment with the Defendant Norwegian Cruise
Lines.

11. The documents that were furnished to the subject seamen as their
contracts of employment, and by whom, and when.

12, The manning agencies used by, or acting for, Defendant
Norwegian Cruise Lines in connection with discussing the
amended terms and conditions governing the employment of
Filipino seafarer as referenced in Memorandum Circular No. 9
filed by Defendants with their motions to compel arbitration.

13. The procedures that were used by Defendant Norwegian Cruise
Lines to comply with Paragraph 5 of Memorandum Circular No.9
in connection with employing the subject seafarers, including the
names, addresses and phone numbers of the persons who
performed and complied with the procedures, and the dates, times,

and locations the procedures were performed as to each seafarer,

Respectfully submitted,

William T. Huggett, Esquire Harley S. Tropin, Esquire
Jay Wingate, Esquire Janet Humphreys, Esquire
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HUGGETT
Florida Bar No.: 094604

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CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that a true and correct copy of the foregoing Plainti e-
Notice of Rule 30(b)(6) Deposition has been sent by facsimile and by U.S. mail on this Vis
of September, 2003, to Curtis J. Mase, ¥Sq., and Rachel S. Cohen, Esq., Mase & Gassenheimer,
P.A., Counsel for Defendants, 80 S°W. 8th Street, Suite 2700, Miami, FL 33131; Facsimile:
(305) 377-0080.

By:

GGETT
orida Bar No.: 094604

ec: Klein Bury & Associates, Court Reporters & Videographer
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THIRD DIVISION

[G.R. No. 149578. April 10, 2003]

EVELYN TOLOSA, petitioner, vs. NATIONAL LABOR RELATIONS
COMMISSION, QWANA KAIUN (through its resident-agent, FUMIO
NAKAGAWA), ASIA BULK TRANSPORT PHILS. INC., PEDRO GARATE

and MARIO ASIS, respondents.

DECISION
PANGANIBAN, J:

As a rule, labor arbiters and the National Labor Relations Commission have no power or
authority to grant reliefs from claims that do not arise from employer-employee relations. They
have no jurisdiction over torts that have no reasonable causal connection to any of the claims
provided for in the Labor Code, other labor statutes, or collective bargaining agreements.

The Cana

The Petition for Review before us assalls the April 18, 2001 Decision” of the Court of

Appeals (CA) in CA-GR SP No. 57660, as well as the April 17, 2001 CA Resolution™ denying
petitioner's Motion for Reconsideration. The dispositive portion of the challenged Decision,

reads as follows:

“WHEREFORE, premises considered, the instant petition for certiorari ls hereby DENIED
and accordingly DISMISSED, without prejudice to the right of herein petitioner to file a suit

before the proper court, if she so desires. No pronouncement as to costs.

The Facts

The appellate court narrated the facts of the case in this manner.

“Evelyn Tolosa (hereafter EVELYN), was the widow of Captain Virgillo Tolosa (hereafter
CAPT. TOLOSA) who was hired by Qwana-Kaiun, through its manning agent, Asia Bulk
Transport Phils. Inc., (ASIA BULK for brevity), to be the master of the Veesel named M/V Lady
Dona. CAPT. TOLOSA had a monthly compensation of US$1700, plue US$400.00 monthly
overtime allowance. His. contract officiaily began on November 1, 1892, as supported by his
contract of emplayment when he assumed command of the vessel in Yokohama, Jepan. The
vessel departed for Long Beach Callfomia, passing by Hawaii in the middie of the voyage. At
the ime of embarkation, CAPT. TOLOSA was shown to be in good health.

“During ‘channeling activities’ upon the vessel's departure from Yokohama sometime on
November 6, 1992, . TOLOSA was drenched with rainwater. The following day,

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November 7, 1992, he had a slight fever and in the succeeding twelve (12
health rapidly deteriorated resulting in his death an November 18, 1992 (12) days, his

“Accarding to Pedro Garate, Chief Mate of the Vessel, in his statement submitted to the
U.S. Coast Guard on November 23, 1952 upon arrival in Long Beach, Califomia CAPT.
TOLOSA experienced high fever between November 11-15, 1992 and suffered from Icose
bowel movement (LBM) beginning November 9, 1992. By November 11, 1992, his
temperature was 39.5 although his LBM had ‘slightly’ stopped. The next day, his temperature
rose to 39.8 and had fost his appetite. in the evening of that day, November 13, 1992, he

slipped in the toilet and suffered scratches at the back of hia waist. First aid was appiled and
CAPT. TOLOSA was henceforth confined to his quarters with an able seaman to watch him 24
haurs a day until November 15, 1992, when his conditioned worsened.

*On the same day, November 15, 1992, the Chief Engineer initiated the move and
contacted ASIA BULK which left CAPT. TOLOSA’s fate In the hands of Pedro Garate and

Mario Asis, Second Mate of the same vessel who was in-charge of the primary medical care of
its officers and crew. Contact with the U.S. Coast Guard in Honolulu, Hawaii (USCGHH) was

likewise initiated to seek medical advice.

"On November 17, 1992, CAPT. TOLOSA was ‘losing resistance’ and his ‘condition was
getting serious.’ At 2215 GMT, a telex wes sent to ASIA BULK requesting for the immediate

evacuation of CAPT. TOLOSA and thereafter an airlift was set on November 19, 1992.
However, on November 18, 1992, at 0753 GMT, CAPT. TOLOSA was officially recorded as

having breathed his fast.

"Because of the death of CAPT. TOLOSA, his wife, EVELYN, as petitioner, filed a
Complaint/Position Paper before the POEA (POEA Case No. 93-06-1060) against Qwana-
Kalun, thru its resident-agent, Mr. Fumio Nakagawa, ASIA BULK, Pedro Garata and Mario

Asis, as raspondents. _

“After initial hearings and submissions of pleadings. the case was however transferred to

the Department of Labor and Employment, National Labor Relations Commission (NLRC),
when the amendatory legisiation expanding its jurisdiction, and removing overseas

employment related claims from the ambit of POEA Jurisdiction. The case was then raffied to
Labor Arbiter, Viadimir Sampang.

x x x x x

XXX
“After conaldering the pleadings and evidences, on July 8, 1897, the Labor Arbiter
Vladimir P. L. Sampang, in conformity with petitioner's plea to hoid respondents salidarily
lable, granted ail the dameges, (plus legal interest), as prayed for by the petitioner. The
dispositive portion of his Decision reads:

‘WHEREFORE. premises considered, the respondents are hereby ordered to
jointly and solidarity pay compiainants the following: .

1. US$176,400.00 (US$2,100.00 x 12 months x 7 years) or
74,586,400.00 (at ®26.00 per US$1.00) by way of lost income;

2, interest at the legal mte of six percent (6%) per annum or
1,238,528.00 (from November 1892 to May 1997 or 4 % years);

3. moral damages of 200,000.00;
4, exemplary damages of P100,000.00; and
5. 10% of the total eward, or #612,472.80, as attorney's fees.’

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“On appeal, private respondents raised before the National Labor Relati c :
(NLRC) tha following grounds: ons Commission

(a) the action before the Arbiter, as he himself concedes, is a complaint based on
torts gue to negligence. !t ls the regular courts of few which have jurisdictian
over the action;

(b) Labor Arbiters have juriediction over claims for damages arising from
amployer-employes relationship (Art. 217, Section (a) (3));

(c) In this case, gross negligence is imputed to respondents Garate and Aals,
who have no employer-employee relationship with the late Capt Virgilio

Tolosa;
(d) Tne labor arbiter has no jurisdiction over the controversy;
x x x x x
x xxx

“Despite other peripheral issues raised by the parties in their respective pleadings, the
NLRC on September 10, 1998, vacated the appealed decision dated July 8, 1997 of the Labor
Arbiter and dismissed petitioner's case for lack of Jurisdiction over the subject matter of the

action pursuant to the provisions of the Labor Code, as amended. (Citations omitted)

Ruling of the Court of Appeals

Sustaining the NLRC, the CA ruled that the labor commission had no Jurisdiction over the
subject matter of the action filed by petitioner. Her cause did not arise from an employer-
employee relation, but from a quasi delict or tort: Further, there is no reasonable causal
connection between her suit for damages and her claim under Article 217 (a)(4) of the Labor
Code, which allows an award of damages incident to an emplcyer-empioyee relation. ‘

Hence, this Petition.=

Igaues

Petitioner raises the following issues for our consideration:
“|
“Whether or not the NLRC has jurisdiction over the case.
"I

“Whether or not Evelyn ie entitled to the monetary awards granted by the labor arbiter.“

After reviewing petitioner's Memorandum, we find that we are specifically being asked to
determine 1) whether the labor arbiter and the NLRC had jurisdiction over petitioner's action.
and 2) whether the monetary award granted by the iaibor arbiter has already reached finality.

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The_Court’s Ruling

The Petition has no merit.

First Issue:
Jurisdiction over the Action

Petitioner argues that her cause of action is not predicated on a quasi delict or tort, but on
the failura of private respondents — as employers of her husband (Captain Tolosa) — to provide
him with timely, adequate and competent medical services under Article 161 of the Labor

e:

"ART 181, Assistance of employer. — It shail be the duty of any employer to provide all the
necessary assistance to ensure the adequate and immediate medical and dental attendance

and treatment to an injured or sick employee in case of emergency.”

Likewise, she contends that Article 217 (a) (4) of the Labor Code vests labor arbiters and
the NLRC with juriadiction to award all kinds of damages in cases arising from employer-

employee relations.
Petitioner also alleges that the “reasonable causal connection” rule should be applied in

her favor. Citing San Miguel Corporation v. Etcuban.™ she insists that a reasonable causal ~ -
connection between the claim asserted and the employer-employee relation confers
jurisdiction upon labor tribunals. She adds that she has satisfied the required conditions: 1) the
dispute arose from an employer-employee relation, considering that the claim was for
damages based on the failure of private respondents to comply with their obligation under
Article 161 of the Labor Code: and 2) the dispute can be reso by reference to the Labor’
Code, because the material iesue is whether private respondents complied with their legal
obligation to provide timely, adequate and competent medical services to guarantee Captain

Tolosa’s occupationai safety.™

We disagree. We affirm the CA’s mulling that the NLRC and the labor arbiter had no
jurisdiction over petitioner's claim for damages, because that ruling was based on a quasi
delict or tort per Article 2176 of the Civil Code.24

Time and time again, we have held that the allegations in the complaint determine the

nature of the action and, consequently, the jurisdiction of the courts.“ Aner carefully
examining the complaint/position paper of petitioner, we are convinced that the allegations
therein are in the nature of an action based on a quasi delict or tort. It Is evident that she
susd Pedro Garate and Mario Asis for gross negligence.

Petitioner's complaint/position paper refers to arid extensively discusses the negligent acts
of shipmates Garate and Asis, who had no employer-employee relation with Captain Tolosa.
Specifically, the paper allages the following tortious acts:

“x x x [Rleepondent Asie was the medical officer of the Vessel. who failad im regularly
monitor Capt Tolose’s condition, and who needed the USCG to prod him to take the latter's

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vital signe. In fact, he failed to keap a medical record, like a patient's card or folder, of

Capt. Tolosa’s iliness UZ

“Respondents, however, failed Capt. Tolosa because Garate never initiated actions to
save him. x x x In fact, Garate rarely checked personally on Capt. Tolosa's condition, to

wit 14)

“x x x Noticeably, the History (Annex “D’*) fails to mention any instance when Garate
consulted the other officers, much fess Capt. Tolosa, regarding the possibility of deviation. To
gave Capt. Tolesa’s fife was surely a just cause for the change in course, which the other
officers would have concurred In had they been consulted by respondent Garate — which he
grossly neglected te do.

“Garate's poor judgement, since he was the officar effectively in command of the vessel,
prevented him from undertaking these emergency measures, the neglect of which resulted in

Capt. Tolosa’s untimely demise."24

The labor arbiter himeelf classified petitioner's case as “a complaint for damages,
blacklisting and watchlisting (pending inquiry) for gross negligence reeutting in the death of

complainant's husband, Capt. Virgilio Tolosa.“4

We stress that the case does not involve the adjudication of a labor dispute, but the
recovery of damages based on a quasi delict. The juriediction of labor tribunals ie limited to
disputes arising from employer-employee relations, as we ruled in Georg Grofahn GMBH &

Co. v. lenaninti

"Not overy disputa between an employer and employee involves matters thet only labor ~,
arbiters and the NLRC can rescive in the exercise of their adjudicatory or quasi-judicial
powers. The jurisdiction of labor arbiters and the NLRC under Article 217 of the Labor Code is

limited to disputes arising from an employer-employee relationship which can only be resolved

by reference to the Labor Code, other lebor statutes, or their collective bargaining

agreement."241

The pivotal question is whether the Labor Code has any relevance to the relief sought by
petitioner. From her paper, it is evident that the primary reliefs she seeks are as follows: (a)
loss of earning capacity denominated therein as “actual damages” or “lost income” and (b)
blacklisting. The loss she claims does not refer to the actual earnings of the deceased, but to
his earning capacity based on a life expectancy of 66 years. This amount is recoverable if the
action Ie based on a quasi delict as provided for in Article 2206 of the Civil Code,“ but not in
the Labor Code.

Vhile it is true that labor arbiters and the NLRC have jurisdiction to award not only reliefs

provided by labor laws, but also damages governed by the Civil Code, these retiefs must still
he based on an action that has a reasonable causal connection with the Labor Code. other

labor statutes, or collective bargaining agreements. 42
The central issue fs determined essentially from the rellef sought In the complaint. In San

Miguel Garparation v. NLRC," this Court held:

“It Is the character of the principal relief sought thet appears essential in this connection.
Where such principal relief is to be granted undar labor legisiation or a collective bargaining
agreement, the case should fall within the juriediction of the Labor Arbiter and the NLRC, even

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though a claim for damages might be asserted as an incident to such claim."

The labor arbiter found private respondents to be rossly negligent. He ruled that i
Talosa, who died at age 58, could expect to live up to 65 vous and to have an coniain

capacity of US6176,400.
It must be noted that a worker's loss of earming capacity and blacklisting are not to be
equated with wages, overtime compensation or separation pay, and other labor benefits that

are generally cognized in labor disputes. The loss of earnin aci
resulting from a quasi delict or a similar causo within the realm of ct iw? S @ relief or claim

“Claims for damages under paragraph 4 of Article 217 must have a reasonable causal
connection with any of the claims provided for in the article in order ta be cognizable by the
labor arbiter. Only if there is such a connection with the other claims can the claim for

damages be considered as arising from employer-employee relations.““! in the present case,
petitioner's claim for damages is not related to any other claim under Article 217, other labor
statutes, or collective bargaining agreements.

Petitioner cannot anchor her claim for damages to Article 161 of the Labor Code, which

does not grant or specify a claim or relief. This provision is only a safety and health standard
under Book IV of the same Code. The enforcement of this labor standard rests with the labor

secretary. ™) Thus, claims for an employer's violation thereof are beyond the Jurisdiction of the
labor arbiter. In other words, petitioner cannot enforce the labor standard provided for in
Article 161 by suing for damages before the labor arbiter.

it is not the NLRC but the regular courts that have jurisdiction over actions for darnages, In
which the empioyer-employee relation is merely incidental, and in which the cause of action

proceeds from a different source of obligation such as a tort. ™ Since petitioner's claim for
damages Is predicated on a quasi delict or tort that has no reasonable causal connection with
any of the claims provided for in Article 217, other labor statutes, or collective bargaining

agreements, jurisdiction over the action lies with the regular courts! _ not with the NLRC or
the labor arbiters.

Second Issue:
Einality of the Monetary Award
Petitioner contends that the labor arbiter's monetary award has already reached finality,

since private respondents were not able to file a timely appeal before the NLRC.

This argument cannot be passed upon in thie appeal, because it was not raised in the
tribunale ea quo. Well-settied is the rule that Issues not raised below cannot be raised for the
firat time on appeal. Thus, points of law, theorfes, and arguments not brought to the attention

of the Court of Appeals need not — and ordinarily will not - be considered by thia Court.™4
Petitioner's allegation oannot be accepted by thie Court on its face; to do so would be

tantamount to a denial of raspondents' right to due process. 2

Furthermore, whether respondents were able to appeal on time is a question of fact that
cannot be entertained in a petition for review under Rule 45 of the Rules of Court. In general,

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the jurisdiction of this Court in cases brought before It from the Court of Appeals {s fimited
to a review of errors of law allegedly cornmitted by the court a quo.

WHEREFORE, the Petition is hereby DENIED, and the assai isi :
AFFIRMED. Costs against petitioner. , led Decision and Resolution

SO ORDERED.
Puna, (Chairman), Sandoval-Gutierrez, Corona, and Carpio-Moraies, JJ., concur,

" Penned by Justice Mercedes Gozo-Dadols, with the concurrence of Justices Fermin A. Martin Jr. (Division
chairman) and Portia Alifie-Hanmachueies (member); rotlo, pp. 8-20.

id., p. 22,
Gig. p19.

4] GA Decision, pp. 1-3; id., pp. 8-13.

El this case was deemed submitted for resolution on September 12, 2002, upon recaipt by this Court of the

Memeorandum for private respondents, signed by Atty. Dante H. Cortez. Filed earlier on August 9, 2002
wes the Memorandum for petitioner, signed by Attys. Rodelle B. Bolante and Gener C. Sansaet of Sycip

Satazar Hernandez & Gatmaitan.
12 petitioner's Memorandum dated August 9, 2002, p. 5: rollo, p. 197: original m upper case.

{2 Asticle 217 of the Labor Code as amended reeds:
“ART. 217, JURISDICTION OF LABOR ARBITERS AND THE COMMISSION.

Except as otherwise provided under this Code the Labor Arbiters shall have original and exclusive

(a)
jurisdiction to hear and decide, within thirty (30) calendar days after the submiasion of the case by the
parties for decision without extension, even in the absance of stenographic notes, the following cases’
involving all workers, whether agricultural or non-agricultural:

Unfair labor practice cages;

Termination disputes:

if accompanied with a claim for reinstatement, those casea that workers may file involving wages, rates of pay,
hours of work and other terms and conditions of employment:

Claims for actual, moral, exemplery and other forms of demages arising from employer-empioyes relations:

Cases arising from any viclation of Article 264 of this Code, including questions involving the legallty of strikes
and lockouts; and

Except claims for Employecs Compensation, Social Security, Medicare and matermity benefits, all other claims,
arising from empioyer-emplioyoe relations, including those of persons in domastic or household service,
Involving an amount exceeding five thousand pesos (765,000.00) regardiess of whether accompanied with

actlaim for reinstatement.
b) The Cammiasion shall have exclusive appellate juriadiction over all cases decided by Labor Arbiters.

c) Caeces arising from the interpretation of collective bargaining agreements and those arising from the
Interpretation or enforcement of compeny personnel policies shall be disposed of by the Labor Arbiter by
reterring the same to the grievance mechinery and voluntary arbitration as may be provided in said

agreements.”

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(81319 SCRA 704, December 3, 1999.
®@ Seo Petitioner's Memorandum. pp. 8-9: rollo, pp. 200-204.

42 Article 2178 of the Civil Code reads:

“Art. 2176, Whoever by act of omission causes damage to another. thera being fault i
pay for the damage done. Such fault or negligence, if there Is 12 pre-existing Tenet eee
between the parties, is called quasi-delict and is governed by the provisions of this Chapter.”

OI vianila Hotel Corp v. National Commi 343 SCRA 1, October 13, 2000; Citibank. N.A. v,

| Labor Relations Commission,
Court of Appesis, 359 Phi. 719, November 27, 1998; San Mique! vy. Nats a
Commission, GR No. 108001, 325 Phil 401, March 15. 1996. o> “* National Labor Relations

(121 CompiainyPosition Paper dated August 23, 1993, p. 7: CA rollo, p. 47.
O31 ig. pp. 7 & 47.

Ud} ig op. 9 & SO.

(131 Decision dated July 8, 1997, p. 1; CA rollo, p. 13.

(1 935 SCRA 216, August 10, 1994.

OZ) td., p. 221, per Puno, J.

(151 Article 2202 of the Civil Code reads:

“Art. 2202. In crimes and quasi-delicts, the defendants shail be lable for all damages which. are the natural and
bable consequences of the act or omission complained of. It le not necessary that auch damages

re
flave been foressen or could have reasonably bean foreseen by the defendant

(81 Baez v. Valdevilla, 331 SCRA 884, May 9, 2000.
@0l Georg Grotjahn GMBH & Co. v. Isnani, supra; San Miguel Corporation v, Etouban, supra. :

2211 161 SCRA 719, May 31, 1988.
22 Id., p. 730, per Feliciano, J.
[23] Dei-Chi Electronics Menufecturng Corp, v. Viterama Jr, 238 SCRA 267, November 21, 1904, per Quiason,

24) Article 162 of the Labor Code as amended provides:

“ART, 162. SAFETY AND HEALTH STANDARDS

“The Secretary of Labor shall, by appropriate ordere, eet and enforce mand occupational safety and health
In all workplaces and Institu

standards to eliminate or reduce occupational and health te
new, and update existing, programs to ensure and healthful working conditions in places of

employment."
[28} Bafiez v. Vaidevilla, supra.
(26] Georg Grogahn GMBH & Co. v. isnani, supra; San Miguel Corporation y. Efcuban, supra.

20) wurena v. Genato. GR_No, 141209, 365 SCRA 384, September 17, 2001: Mendoza v. Court af Anpesls. GR

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Na_116216, 274 SCRA 827, June 20, 1997.
25) sendoza v. Court of Appeals, supra.
BE ibid,

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